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  1   JEFFREY L. HOGUE, ESQ. (SBN 234557)
      TYLER J. BELONG, ESQ. (SBN 234543)
  2   JIMMIE DAVIS PARKER (SBN 252023)
      MARK A. SIMPLICIANO (SBN 331516)
  3   HOGUE & BELONG
      170 LAUREL ST.
  4   SAN DIEGO, CA 92101
      PHONE: (619) 238-4720
  5   FAX: (619) 270-9856
  6   Attorneys for Plaintiffs
  7

  8

  9

 10
                           UNITED STATES DISTRICT COURT
 11
                         CENTRAL DISTRICT OF CALIFORNIA
 12
      CATHY SYPHERD, individually,           Case No. 5:20-CV-00921-FLA-KK
 13
      PATRICIA BRUMMETT,                     DECLARATION OF JEFFREY L.
 14   individually, and KIMBERLY             HOGUE IN SUPPORT OF
                                             PLAINTIFF’S UNOPPOSED MOTION
 15   WATT, individually, and on behalf      FOR PRELIMINARY APPROVAL OF
      of all others similarly situated,      COLLECTIVE AND CLASS
 16                                          SETTLEMENT
                     Plaintiffs,
 17
      vs.                                    Complaint Filed:    May 1, 2020
                                             FAC Filed:          June 15, 2020
 18   LAZY DOG RESTAURANTS,                  Trial Date:         November 16, 2021
 19   LLC, a California Corporation; and     Judge:              Hon. Fernando L.
      DOES 1-50,                             Aenlle-Rocha
 20                                          Courtroom:          6B
 21                 Defendants               [filed concurrently with (1) Memorandum of
                                             Points and Authorities, and (2) [Proposed]
 22                                          Order]
 23

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           DECLARATION OF JEFFREY L. HOGUE IN SUPPORT OF PLAINTIFF’S UNOPPOSED MOTION FOR
                                                  PRELIMINARY APPROVAL CLASS SETTLEMENT
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  1
      I, Jeffery Hogue, declare as follows:
  2
            1.     I am a principal with the law firm Hogue & Belong, duly admitted to
  3
      practice before all the Courts of the State of California, and am attorney of record
  4
      herein for plaintiffs, Cathy Sypherd, Patricia Brummett, and Kimberly Watt
  5   (collectively, the “Plaintiffs”). I make this declaration from my personal
  6   knowledge except as to those matters, if any, stated on information and belief, and
  7   if called as a witness, I could and would competently testify thereto.
  8         2.     The Plaintiffs were food servers, and all applied and were rejected for
  9   employment at defendant Lazy Dog – a national restaurant chain. The Plaintiffs
 10   brought a collective and class action against Defendant for discriminatory hiring
 11   decisions based on age. They were apprised of their fiduciary duties, and remained
 12   faithful to those duties during the course of the litigation.
 13         3.     A true and correct copy of the parties’ Collective and Class Action
 14   Settlement Agreement and Release (“Proposed Settlement”) is attached hereto as
 15   Exhibit “A”. The settlement was reached after a second mediation pursuant to

 16   that mediator’s proposal.

 17   INVESTIGATION AND ANALYSIS OF CLAIMS AMONG THE ACTIONS

 18         4.     The Parties in the instant action exchanged ample discovery that

 19   allowed them to intelligently value the claims asserted.

 20         5.     On October 27, 2020, Plaintiffs propounded their First Set of Special

 21   Interrogatories. This set was comprised of two interrogatories seeking the class list
 22   for the California class and the nationwide class to support Plaintiffs’ ADEA and
 23   FEHA claims.

 24         6.      On October 27, 2020, Plaintiffs propounded their First Set of

 25   Requests for Production, comprised of 60 requests. These requests sought a variety

 26   of documents related to job applications for Defendant’s different restaurant
 27   locations as well as other documentation provided to prospective applicants. Upon

 28
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  1
      receiving Plaintiffs’ initial discovery requests, Defendant sought a lengthy
  2
      extension to respond by January 8, 2021, which Plaintiffs granted.
  3
            7.     On January 8, 2021, Defendant responded to Plaintiffs’ First Set of
  4
      Special Interrogatories. This set was comprised of two responses. Both responses
  5
      were boilerplate objections to the Interrogatories, and Defendant provided no
  6
      substantive responses.
  7
            8.     On January 8, 2021, Defendant responded to Plaintiffs’ First Set of
  8
      Request for Production, comprised of 60 requests. This set was comprised of 60
  9
      responses, 20 partial responsive responses, and 40 objections to requests – without
 10
      providing substantive responses. In Defendant’s substantive responses, it
 11
      responded that it would only provide documents limited to its Corona, California
 12
      location, despite that Plaintiffs’ class action encompassed Defendant’s nationwide
 13
      locations.
 14
            9.     On January 13, 2021, Defendant propounded their First Set of Special
 15
      Interrogatories to Plaintiff Patricia Brummett. This set was comprised of 9
 16
      interrogatories seeking to have Plaintiff identify all persons that applied but were
 17
      not interviewed or hired by Defendant.
 18
            10.    On January 13, 2021, Defendant propounded their First Set of Special
 19
      Interrogatories to Plaintiff Cathy Sypherd. This set was comprised of 9
 20
      interrogatories seeking to have Plaintiff identify all persons that applied but were
 21
      not interviewed or hired by Defendant.
 22
            11.    On January 13, 2021, Defendant propounded their First set of Special
 23
      Interrogatories to Plaintiff Kimberly Watt. This set was comprised of 9
 24
      interrogatories seeking to have Plaintiff identify all persons that applied but were
 25
      not interviewed or hired by Defendant.
 26
            12.    On January 13, 2021, Defendant propounded their First Set of
 27
      Request for Production to Plaintiff Patricia Brummett, comprised of 35 requests.
 28
                                                 2
          DECLARATION OF JEFFREY L. HOGUE IN SUPPORT OF PLAINTIFF’S UNOPPOSED MOTION FOR
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  1
      These requests sought a variety of documents related to the Plaintiffs complaint as
  2
      well as wage statements or any documents related to income.
  3
            13.    On January 13, 2021, Defendant propounded their First Set of
  4
      Request for Production to Cathy Sypherd, comprised of 35 requests. These
  5
      requests sought a variety of documents related to Plaintiff’s complaint as well as
  6
      photographs of Plaintiff spanning one year back.
  7
            14.    On January 13, 2021, Defendant propounded their First Set of
  8
      Request for Production to Plaintiff Kimberly Watt, comprised of 35 requests.
  9
      These requests sought a variety of documents related to the Plaintiffs complaint as
 10
      well as social media posts or communication related to the allegations in the
 11
      Complaint.
 12
            15.    On February 5, 2021, Plaintiffs propounded their Second Set of
 13
      Special Interrogatories. This set was comprised of 12 interrogatories seeking the
 14
      class contact information for the California class and the Nationwide class periods.
 15
            16.    On March 8, 2021, Defendant responded to Plaintiffs’ Second Set of
 16
      Special Interrogatories, comprised of 12 requests. All 12 responses were objections
 17
      to the interrogatories and Defendant provided no substantive responses.
 18
            17.    On March 29, 2021, Defendant ultimately produced documents
 19
      sought by Plaintiffs’ Request for Production of Documents, Set One, but limited its
 20
      responses to Defendants Corona, California location, despite Plaintiffs’ request for
 21
      Defendant’s nationwide data.
 22
            18.    On April 7, 2021, Defendant took the deposition of Plaintiff Patricia
 23
      Brummett.
 24
            19.    On April 8, 2021, Defendant took the deposition of Plaintiff Cathy
 25
      Sypherd.
 26
            20.    On April 13, 2021, Defendant took the deposition of Plaintiff
 27
      Kimberly Watt.
 28
                                                3
          DECLARATION OF JEFFREY L. HOGUE IN SUPPORT OF PLAINTIFF’S UNOPPOSED MOTION FOR
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  1
            21.     On April 16, 2021, Plaintiff Patricia Brummett responded to
  2
      Defendant’s Special Interrogatories, this set was comprised of nine responses.
  3
      Plaintiff asserted objections, but provided substantive responses to all nine
  4
      interrogatories.
  5
            22.     On April 16, 2021, Plaintiff Cathy Sypherd responded to Defendants
  6
      Special Interrogatories, this set was comprised of nine responses. Plaintiff asserted
  7
      objections, but provided substantive responses to all nine interrogatories.
  8
            23.     On April 16, 2021, Plaintiff Kimberly Watt responded to Defendants
  9
      Special Interrogatories, this set was comprised of nine responses. Plaintiff asserted
 10
      objections, but provided substantive responses to all nine interrogatories.
 11
            24.     On April 16, 2021, Plaintiff Patricia Brummett responded to
 12
      Defendant’s Request for Production, this set was comprised of 35 requests.
 13
      Twenty-five of the responses had partial production of documents and 10 were
 14
      objections to the requests based on privilege, such as the attorney-client and
 15
      attorney work-product privileges.
 16
            25.     On April 16, 2021, Plaintiff Cathy Sypherd responded to Defendant’s
 17
      Request for Production, this set was comprised of 35 requests. Twenty-five of the
 18
      responses had partial production of documents and 10 were objections to the
 19
      requests based on privilege, such as the attorney-client and attorney work-product
 20
      privileges.
 21
            26.     On April 16, 2021, Plaintiff Kimberly Watt responded to Defendant's
 22
      Request for Production, this set was comprised of 35 requests. Twenty-five of the
 23
      responses had partial production of documents and 10 were objections to the
 24
      requests based on privilege, such as the attorney-client and attorney work-product
 25
      privileges.
 26
 27

 28
                                                4
          DECLARATION OF JEFFREY L. HOGUE IN SUPPORT OF PLAINTIFF’S UNOPPOSED MOTION FOR
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  1
            27.    On June 15, 2021, Defendants submitted a Supplemental Response to
  2
      Plaintiffs Request for Productions Set One. This response was comprised of 19
  3
      supplemental responses with partial production of documents.
  4
            28.    On June 16, 2021, as ordered by the Court, Defendant produced
  5
      documents including electronic data of nearly 33,945 applicants in California and
  6
      24,022 pages of paper records.
  7
            29.    On June 29, 2021, Plaintiff took the deposition of Defendant’s Rule
  8
      30(b)(6) witness, Brian Palko, who testified to Plaintiffs that Defendant’s hiring
  9
      processes and policies were uniform across the nation. Plaintiffs deposed Palko
 10
      again on July 7, 2021.
 11
            30.    On July 6, 2021, Plaintiffs propounded their Second Set of Request for
 12
      Production, comprised of four requests. These requests sought out age
 13
      discrimination complaints the Defendant received for the California class and
 14
      Nationwide class periods.
 15
            31.    On July 7, 2021, Plaintiffs took the deposition of Defendant’s Human
 16
      Resource representative and Rule 30(b)(6) witness on certain topics, Katie Biggs.
 17
            32.    On July 8, 2021, Defendant took the deposition of opt-in plaintiff
 18
      Karen McClure.
 19
            33.    On July 12, 2021, Plaintiffs took the deposition of Defendant’s
 20
      Human Resource representatives Shelley Reed and Mariah Machnkowski.
 21
            34.    On July 27, 2021, Plaintiffs propounded their Third Set of Request for
 22
      Production, comprised of two requests. These requests sought payroll data covering
 23
      the position in the California class and Nationwide class periods.
 24
            35.    On July 27, 2021, Defendant took the deposition of Plaintiffs’ Expert
 25
      Witness, Ted Tatos.
 26
 27

 28
                                                5
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  1
            36.    On August 5, 2021, Defendant responded to Plaintiffs’ Request for
  2
      Production Set Two. This response was comprised of 4 responses that were
  3
      objections to the request.
  4
            37.    On August 16, 2021, Defendant submitted a Supplemental Response
  5
      to Plaintiffs’ Request for Production Set Two. This response was comprised of 3
  6
      responses that were all objections to the request, and one response stating that
  7
      Defendant had already produced the requested documents.
  8
            38.    On August 23, 2021, Plaintiffs took the deposition of Defendant’s
  9
      Expert Witness Dr. Ali Saad.
 10
            39.    On August 26, 2021, Defendant responded to Plaintiffs’ Request for
 11
      Production Set Three. This response was comprised of merely objections.
 12
            40.    On August 30, 2021, Plaintiffs took the deposition of Defendant’s
 13
      declarant Genny Scram.
 14
            41.    In sum, 12 depositions were taken, and 11 sets of discovery were
 15
      exchanged, comprised of five sets of special interrogatories and six sets of requests
 16
      for production of documents. These 11 sets of discovery can be further broken
 17
      down to 212 specific separate requests, and these requests yielded 235 responses
 18
      and supplemental responses. Plaintiffs received approximately 29,885 documents,
 19
      including job application data for approximately 2,242 persons 40 years of age and
 20
      older as part of Defendant’s document production.
 21
            42.    Virtually all discovery that Plaintiffs propounded required lengthy
 22
      meet and confer efforts. Plaintiffs ultimately had to file four (4) Joint Motions to
 23
      Compel Discovery. On May 6, 2021, Plaintiffs moved to compel Defendant to
 24
      further respond to Plaintiffs’ Request for Production of Documents, Set One. (ROA
 25
      No. 37). On August 9, 2021, Plaintiffs moved to compel Defendant to further
 26
      respond to Plaintiff’s Request for Production of nationwide documents. (ROA No.
 27
      137). In addition, on August 9, 2021, Plaintiffs filed a Motion to Compel
 28
                                                 6
          DECLARATION OF JEFFREY L. HOGUE IN SUPPORT OF PLAINTIFF’S UNOPPOSED MOTION FOR
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  1
      Deposition of Rule 30(b)(6) to testify relevant information based on class period
  2
      and information concerning Defendant’s investigations of Plaintiffs’ complaints to
  3
      human resources. (ROA No. 138.) On August 19, 2021, Plaintiffs moved to
  4
      compel Defendant to further respond to Plaintiffs’ Request for Production of
  5
      Documents, Set Two. (ROA No. 159). On September 24, 2021, the Court granted
  6
      Plaintiffs’ motions in part and denied in part. The Court ultimately ordered
  7
      Defendant to produce all its nationwide hiring data and for Defendant to provide a
  8
      Rule 30(b)(6) witness for the relevant class period. (ROA No. 205).
  9
            43.   A true and correct copy of Defendant’s online application is attached
 10
      as Exhibit “B.”1
 11
                       THE ACTION WAS VIGOROUSLY LITIGATED
 12
            44.   The Parties vigorously litigated this action before finally reaching a
 13
      compromise. In total, the parties filed nine different motions, excluding discovery
 14
      motions. Four motions were pending when the case settled, and five motions were
 15
      decided on the merits. The following are the different motions that were filed:
 16
                  a.     On May 26, 2020, Defendant filed a Motion to Dismiss
 17
                         [Defendant’s Notice of Motion and Motion to Dismiss Plaintiffs’
 18
                         Complaint Pursuant to Federal Rule of Civil Procedure 12(B)(6)
 19
                         or, in the Alternative, to Strike Class Period and Jury Demand
 20
                         Pursuant to 12(F); Memorandum of Points and Authorities].
 21
                         (ROA No. 10.) Defendant’s motion was mooted by the
 22
                         Plaintiffs filing of the First Amended Complaint. (ROA No. 14.)
 23
                  b.     On June 29, 2020, Defendant filed a Motion to Dismiss to
 24
                         Plaintiffs’ First Amended Complaint. [ Notice of Motion and
 25
                         Motion to Dismiss Plaintiff’s First Amended Complaint] (ROA
 26
 27   1
            Defendant’s application did not seek an applicant’s social security number.
      Thus, the Settlement Administrator would need to obtain the social security
 28   numbers via a claim form in order to issue the proper tax forms.
                                               7
          DECLARATION OF JEFFREY L. HOGUE IN SUPPORT OF PLAINTIFF’S UNOPPOSED MOTION FOR
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  1
                        No. 16.) Plaintiffs filed an Opposition (ROA No. 18), and
  2
                        Defendant then filed a Reply. (ROA No. 19.) On July 24, 2020,
  3
                        the Court issued an order denying Defendant’s Motion to
  4
                        Dismiss Plaintiffs’ First Amended Complaint. (ROA No. 21.)
  5
                  c.    On May 6, 2021, Defendant filed a Motion for Order of
  6
                        Evidence Sanctions. [Notice of Motion and Motion for Order for
  7
                        Evidence Sanctions [FRCP 37] or, in the Alternative, for an
  8
                        Order Compelling Plaintiffs to Disclose All Witnesses and
  9
                        Documents filed] (ROA No. 34.) A Joint Stipulation was filed
 10
                        (ROA No. 35). On May 17, 2021, the court issued an order to
 11
                        striking the Motion for Evidence Sanctions due to Defendant’s
 12
                        “failure to meet and confer in good faith in compliance with
 13
                        Local Civil Rules 37-1.” (ROA No. 38.)
 14
                  d.    On July 23, 2021, Plaintiff filed a Motion for Order Approval of
 15
                        Notice. [Notice of Motion and Motion for Order for Approval of
 16
                        Notice to the Potential Members of a Collective Action Under 29
 17
                        U.S.C. § 216(B)] (ROA No. 94.) At the time the motion was
 18
                        filed, Plaintiff had 34 Opt-in plaintiffs and 12 declarations from
 19
                        putative class members. Defendants filed an Opposition (ROA
 20
                        No. 118), Plaintiffs filed a Reply (ROA No. 133.) On August
 21
                        16, 2021, the court took the Motion Under Submission (ROA
 22
                        No. 147.) The hearing date for the motion was set for August
 23
                        20, 2021, which the Court took under submission. At the time
 24
                        the Proposed Settlement was reached, Plaintiffs had 92 Opt-in
 25
                        plaintiffs.
 26
                  e.    On July 23, 2021, Defendant filed a Motion for Protective
 27
                        Order. [Motion for Protective Order and Remedial Relief] (ROA
 28
                                               8
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  1
                        No. 96.) On July 29, 2021, the Court denied the motion as
  2
                        Moot. (ROA No. 107.)
  3
                  f.    On August 13, 2021, Defendant filed a Motion for Summary
  4
                        Judgement. [Notice of Motion and Motion for Summary
  5
                        Judgment] (ROA No. 146.) Plaintiffs filed an Opposition (ROA
  6
                        No. 188), Defendant filed a Reply (ROA No. 191.) On
  7
                        September 27, 2021, the court took the Motion Under
  8
                        Submission (ROA No. 208.) By the time the parties reached
  9
                        their settlement, the Court had not decided the motion.
 10
                  g.    On August 17, 2021, Plaintiffs filed a Motion to Certify Class.
 11
                        [Notice of Motion and Motion to Certify Class] (ROA No. 153.)
 12
                        Defendant filed an Opposition (ROA No. 186), Plaintiffs filed a
 13
                        Reply (ROA No. 189.) On September 21, 2021, the court took
 14
                        the Motion Under Submission. As of the date the parties reached
 15
                        their settlement, the Court had not decided the motion. Here, the
 16
                        class encompasses a total of approximately 2,242 forty years of
 17
                        age or older applicants who unsuccessfully applied to one of
 18
                        Defendant’s California stores for a front-of-the-house non-
 19
                        managerial job from December 4, 2015, to the date of
 20
                        preliminary approval
 21
                  h.    On August 20, 2021, Defendants filed a Motion to Exclude Ted
 22
                        Tatos Expert Report. [Notice of Motion and Motion to Exclude
 23
                        Ted Tatos Expert Report and Opinions] (ROA No. 161.)
 24
                        Plaintiffs filed an Opposition (ROA No. 185), Defendants filed a
 25
                        Reply (ROA No. 190.) On September 21, 2021, the court took
 26
                        the Motion Under Submission (ROA No. 196.) The Court did
 27

 28
                                               9
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  1
                         not make a ruling by the time the parties reached the Proposed
  2
                         Settlement.
  3
            45.    On July 12, 2021, Plaintiffs disclosed to Defendant their Initial Expert
  4
      Witness Disclosures, which designated economist and statistician Ted Tatos as
  5
      Plaintiffs’ expert for this matter. Plaintiffs provided Mr. Tatos with an array of data
  6
      Plaintiffs obtained from Defendant through discovery. This included, without
  7
      limitation, databases of Defendant’s California front-of-house employees listing
  8
      their names, contact information, and birth dates; databases containing Defendant’s
  9
      front-of-house employees’ earnings; databases listing Defendant’s employees’
 10
      information of those hired and terminated by Defendant; databases containing
 11
      information about job applicants for Defendant’s front-of-house positions; and
 12
      Defendant’s Expert Report from Dr. Ali Saad. Upon review and further analysis of
 13
      the provided information, Mr. Tatos produced his Expert Report, which was also
 14
      provided to Defendants on July 12, 2021.
 15
            46.    Based on his findings, Mr. Tatos concluded that Defendant’s
 16
      applicants who were 40 years or older were significantly less likely to receive an
 17
      offer of employment for Defendant’s front-of-house positions in California, as
 18
      compared to applications under 40 years old. In other words, he found that age-
 19
      protected applicants were denied employment with Defendant at a “statistically
 20
      significant” higher rate than those under the age of 40. Further, Mr. Tatos
 21
      concluded by analyzing the earnings database provided to him that the California
 22
      Class members suffered approximately $4.9 million in monetary damages, and
 23
      those outside California class members statement approximately $1.9 million in
 24
      monetary damages.
 25
            47.    On August 17, 2021, Plaintiffs provided Defendant with a Second
 26
      Expert Report of Ted Tatos. Plaintiff provided the second report to fix the
 27
      discrepancies acknowledged by Defendant’s Expert Report from Dr. Ali Saad,
 28
                                                10
          DECLARATION OF JEFFREY L. HOGUE IN SUPPORT OF PLAINTIFF’S UNOPPOSED MOTION FOR
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  1
      specifically concerning the candidates’ mismatched birth date data. In doing so,
  2
      Mr. Tatos used the same data and information analyzed by Defendant’s expert, and
  3
      the same methodology used in his first expert report but removed the contested
  4
      mismatched data from his analysis. Nevertheless, Mr. Tatos’ Second Expert Report
  5
      still concluded a “statistically and economically significant” disparity against
  6
      Defendant’s front-of-house applicants 40 years or older as compared to applicants
  7
      under 40 years old. As such, based on Mr. Tatos’ analysis of Defendants’ front-of-
  8
      house employees’ earnings data, Mr. Tatos estimated that if the Class were to win
  9
      on all of their claims, the total class damages for the entire class period would be
 10
      $5,213,895 in economic damages, including prejudgment interest.
 11
            48.    Overall, Plaintiffs’ counsel have had to spend in excess of $100,000 in
 12
      expert fees alone, including those from Ted Tatos, to further investigate Plaintiffs’
 13
      claims.
 14
                        THE PARTIES’ SETTLEMENT ATTEMPTS
 15
            49.    The parties agreed to mediate with Ann Kotlarski on March 9, 2021.
 16
      Due to Defendant not providing sufficient information, Plaintiffs were forced to
 17
      postpone it. The parties eventually mediated on August 26, 2021, with Ms.
 18
      Kotlarski, but were unable to reach a resolution.
 19
            50.    On September 27, 2021, the parties mediated with John Adler. The
 20
      case did not settle at the September 27, 2021 mediation. On September 28, 2021,
 21
      the mediator sent out a mediator’s proposal outlining material settlement terms.
 22
            51.     On September 29, 2021, the parties were notified by the mediator
 23
      that both parties had accepted it. Over the following months, the parties then
 24
      worked towards and finalized the settlement agreement.
 25
            52.    The action remained adversarial throughout both mediations and all
 26
      through the litigation.
 27

 28
                                                11
          DECLARATION OF JEFFREY L. HOGUE IN SUPPORT OF PLAINTIFF’S UNOPPOSED MOTION FOR
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  1
            53.    The members potentially could have reached a more favorable result at
  2
      trial. Based on the constant changes in this complex area of the law, however, any
  3
      potential more favorable verdict would inevitably be appealed, and that would
  4
      mean either long delays or a potential retrial. Collectability of any judgment was an
  5
      important consideration. Nevertheless, no matter the outcome, the order or
  6
      judgment would have been appealed in this matter. In Class counsel’s experience,
  7
      this would have delayed the action for another two years at a minimum before the
  8
      Class would be compensated. Entering into a settlement now would mean a
  9
      positive outcome with immediate cash payments to the putative class members.
 10
                                 RELEVANT EXPERIENCE
 11
            54.    I was admitted to the California State Bar in 2004. Since 2007, I have
 12
      specialized in employment class actions. I have litigated, certified, and settled
 13
      numerous employment class actions. I and Mr. Belong have also tried class action
 14
      lawsuits and litigated the appeal of judgments through the Fourth District Court of
 15
      Appeals in class action trials. In 2016, my partner, Tyler Belong, and I engaged in
 16
      a 10-week bench and jury trial and received a jury verdict of $2,000,000.00 in a
 17
      wage and hour class-action lawsuit against Apple, Inc. (Case No.: 37-2011-
 18
      00102593-CU-OE-CTL.)
 19
            55.    About seventy-five percent of my area of practice is in the area of
 20
      employment class actions. The balance of my practice consists of a mix of
 21
      wrongful termination and FEHA employment actions. Excluding the instant
 22
      matter, my firm is currently litigating several other employment class actions
 23
      against large companies on behalf of an aggregate of tens of thousands of
 24
      employees.
 25
            56.    I, and my partner, Mr. Belong, have considerable experience in
 26
      litigating large employment class actions. I formed what is now Hogue & Belong
 27

 28
                                                12
          DECLARATION OF JEFFREY L. HOGUE IN SUPPORT OF PLAINTIFF’S UNOPPOSED MOTION FOR
                                PRELIMINARY APPROVAL COLLECTIVE AND CLASS SETTLEMENT
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  1
      in 2006, and since that time have been regularly litigating employment class
  2
      actions.
  3
            57.    Since forming my firm, I and members of my firm, including Mr.
  4
      Belong, have been consistently appointed Class counsel in numerous cases. I, nor
  5
      anyone from my firm, has ever been deemed inadequate as Class counsel.
  6
            58.    Further, throughout this litigation, I have not become aware of any
  7
      other similar class actions against Defendant; thus, there is no risk of a reverse
  8
      auction. Nevertheless, given the experience that I, Mr. Belong, and our firm have
  9
      in employment class actions, we endorse the Proposed Settlement.
 10

 11
            I declare under penalty of perjury under the laws of the United States and of
 12
      California that the foregoing is true and correct.
 13

 14
            Executed this 19 day of November 19, 2021, in San Diego, California.
 15

 16                                           ___s/ Jeffery L. Hogue
                                                  Jeffery L. Hogue
 17

 18

 19

 20
 21

 22

 23

 24

 25

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 27

 28
                                                 13
          DECLARATION OF JEFFREY L. HOGUE IN SUPPORT OF PLAINTIFF’S UNOPPOSED MOTION FOR
                                PRELIMINARY APPROVAL COLLECTIVE AND CLASS SETTLEMENT
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                          Exhibit “A”
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 5    170 Laurel Street
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 8    Attorneys for Plaintiffs
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13    Telephone: (213) 689-0404
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14
      Attorneys for Defendant
15
16                               UNITED STATES DISTRICT COURT

17                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

18
19    CATHY SYPHERD, individually,                 CASE NO.: 5:20-CV-00921-FLA(KK)
      PATRICIA BRUMMETT, individually,
20    and KIMBERLY WATT, individually,             [Assigned to District Judge Fernando L.
      and on behalf of all others similarly        Aenlle-Rocha and Magistrate Judge Kenly
21    situated,                                    Kiya Kato]

22                 Plaintiffs,                     COLLECTIVE AND CLASS ACTION
                                                   SETTLEMENT AGREEMENT AND
23          vs.
                                                   RELEASE
24    LAZY DOG RESTAURANTS, LLC, a
      California Corporation; and DOES 1-50,       Complaint Filed: May 1, 2020
25                                                 FAC Filed:       June 15, 2020
                   Defendants.
26
27
28

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                                                      SETTLEMENT AGREEMENT AND RELEASE
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 1          Subject to approval by the United States District Court for the Central District of
 2    California, this Collective and Class Action Settlement Agreement sets forth the full and
 3    final terms by which Defendant Lazy Dog Restaurants (“Lazy Dog”) and the Named
 4    Plaintiffs, Cathy Sypherd, Patricia Brummett and Kimberly Watt (“Plaintiffs”), on behalf
 5    of themselves and the California Class and Settlement Collective as defined below
 6    (collectively, “Covered Individuals”), have settled and resolved all claims that have been
 7    raised in the Litigation, defined below.
 8                                          RECITALS
 9          WHEREAS, an amended collective and class action Complaint (“Complaint”) was
10    filed on June 15, 2020 alleging violations of the federal Age Discrimination in Employment
11    Act of 1967, as amended, 29 U.S.C. §§ 621, et seq. (“ADEA”), the California Fair
12    Employment and Housing Act, Cal. Gov. Code §§ 12900, et seq.(“FEHA”) and the
13    California Unfair Competition Law, Cal. Bus. & Prof. Code §§ 17200, et seq. (“UCL”),
14    including both disparate treatment (intentional discrimination) and disparate impact
15    theories, for alleged failure or refusal to hire qualified workers over 40 years old and older
16    into Covered Positions;
17          WHEREAS, Lazy Dog denied and continues to deny all the allegations and has
18    denied and continues to deny it is liable or owes damages to anyone with respect to the
19    alleged facts or causes of action asserted. Nonetheless, without admitting or conceding
20    any liability or damages, the Parties have agreed to settle the lawsuit on the terms and
21    conditions set forth herein to avoid the burden and expense of continuing litigation;
22          WHEREAS, the Parties engaged in substantial discovery, including party depositions,
23    percipient and expert witness depositions, and exchange of documents, data, and analyses;
24          WHEREAS, the Parties attended (1) mediation on August 26, 2021 with Ann
25    Kotlarski of Judicate West, an experienced mediator with particular expertise regarding
26    employment discrimination and complex litigation, including class actions, and (2) a
27    second mediation on September 27, 2021 with John Adler of Judicate West, an experienced
28

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                                                          SETTLEMENT AGREEMENT AND RELEASE
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 1    mediator with particular expertise regarding employment discrimination and complex
 2    litigation, including class actions;
 3          WHEREAS, pursuant to a mediator’s proposal by Mr. Adler delineating key terms,
 4    the Parties reached a Settlement in principle on September 29, 2021;
 5          WHEREAS, the Parties recognize that, in the absence of an approved Settlement,
 6    they would face a long course of litigation, including further extensive, costly and time-
 7    consuming discovery, extensive motion practice, trial and potential appellate proceedings
 8    that would consume time and resources and present each of them with ongoing litigation
 9    risks and uncertainties;
10          WHEREAS, the Parties wish to avoid these risks and uncertainties, as well as the
11    consumption of time and resources, through settlement pursuant to the terms and conditions
12    set forth herein;
13          WHEREAS, based on their analysis and evaluation of a number of factors, and
14    recognizing the substantial risks of continued litigation, including the possibility that the
15    Litigation, if not settled now, might result in no recovery or a recovery that is less favorable
16    to the Plaintiffs, counsel for Plaintiffs is satisfied that the terms and conditions of this
17    Agreement are fair, reasonable and adequate and that this Agreement is in the best interests
18    of the Covered Individuals;
19          WHEREAS, the Named Plaintiffs, defined below, believe the Settlement set forth
20    herein serves the best interests of the California Class and the Settlement Collective based
21    on all the facts and circumstances, including the risk of significant delay and the uncertainty
22    of class certification, as it provides prompt relief for the Covered Individuals;
23          WHEREAS, it is the desire of the Parties to fully, finally and forever settle,
24    compromise and discharge all disputes and claims arising from or related to the Litigation
25    which exist between them and between the Named Plaintiffs, the California Class, the
26    Settlement Collective, and the Released Parties;
27          NOW, THEREFORE, in consideration of the mutual covenants and promises set
28    forth herein, as well as the good and valuable consideration provided for herein, the Parties

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 1    agree to a full and complete settlement of the Litigation on the following terms and
 2    conditions (“Settlement”):
 3    1.    DEFINITIONS
 4          The following terms shall have the meanings defined in this Section, wherever
 5    used in this Agreement, and in all its exhibits:
 6          1.1   Agreement. “Agreement” means this settlement agreement and all
 7                exhibits attached to it.
 8          1.2   CAFA Notice. “CAFA Notice” means the notice required pursuant to
 9                28 U.S.C. § 1715(b).
10          1.3   California Class. “California Class” means all applicants who, between
11                December 4, 2015 to Preliminary Approval or March 17, 2022
12                (whichever is earlier) (inclusive), (a) applied for and were denied a
13                Covered Position in California, or (b) resided in California at the time
14                they applied to a Covered Position and were denied; and were aged 40
15                or older at the time of application.
16          1.4    California Class Fund. “California Class Payment” shall be the
17                Distribution Fund multiplied by the percentage of the California Class
18                (numerator)      vis-à-vis   the       Settlement   Collective   Members
19                (denominator).
20          1.5   Claimants. “Claimants” means any and all Covered Individuals who
21                do not properly opt-out of the Settlement (see § 8.3).
22          1.6   Claims Period.       The period of forty-five (45) calendar days for
23                Covered Individuals to submit Claim Forms, object and/or opt out. This
24                period will begin to run on the date of the initial Notice mailing.
25          1.7   Class Counsel. “Class Counsel” means the law firm of Hogue &
26                Belong, APC in its capacity representing the California Class and
27                Settlement Collective.
28

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 1          1.8   Court.    “Court” means the Court having jurisdiction over this
 2                Litigation, at any stage (currently the United States District Court for
 3                the Central District of California).
 4          1.9   Covered Individuals.       “Covered Individuals” means, collectively,
 5                “Named Plaintiffs,” the “California Class” and “the Settlement
 6                Collective Members.”
 7          1.10 Covered Period. The “Covered Period” means (1) December 4, 2016
 8                to Preliminary Approval or March 17, 2022 (whichever is earlier) for
 9                the Settlement Collective; and (2) December 4, 2015 to Preliminary
10                Approval or March 17, 2022 (whichever is earlier) for the California
11                Class.
12          1.11 Covered Position. A “Covered Position” means non-managerial front
13                of the house positions, including hosts, servers, bartenders, bussers,
14                runners and take-out.
15          1.12 Claim Form. “Claim Form” means the form that California Class
16                members must complete and submit to (i) provide their social security
17                number for tax reporting purposes and (ii) certify that when they
18                applied for employment with Lazy Dog they were age 40 or older,
19                substantially in the form attached hereto as Exhibit 2, and as approved
20                by the Court.
21          1.13 Defendant or Lazy Dog. “Defendant” or “Lazy Dog” means Lazy Dog
22                Restaurants, LLC.
23          1.14 Defendant’s Counsel. “Defendant’s Counsel” means the law firm of
24                Jackson Lewis P.C.
25          1.15 Distribution Fund. “Distribution Fund” is defined as the Gross Fund
26                minus court-approved Class Counsel’s attorneys’ fees, costs and
27                expenses (see §§ 3.2.3, 4); Named Plaintiff Service Awards (see §§
28                3.2.1, 5); the fees and expenses of the Settlement Administrator (see §

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 1                3.2.2); Lazy Dog’s share of any applicable federal, state and local
 2                payroll takes (including FICA, FUTA and SUTA) (see §§ 3.2.6); and
 3                the Reserve Fund (§§ 3.2.5, 9).        The Distribution Fund shall be
 4                distributed to Claimants pro rata as set forth in section 3.3.
 5          1.16 Final Approval Hearing.          “Final Approval Hearing” means the
 6                hearing during which the Court shall decide whether to finally approve
 7                the Agreement and make such other rulings as are contemplated by this
 8                Agreement or as modified by any subsequent mutual agreement of the
 9                Parties in writing and approved by the Court.
10          1.17 Final Approval Order. “Final Approval Order” means the final order
11                entered by the Court after the Final Approval Hearing.
12          1.18 Finality. “Finality” means the first court day after the date on which
13                the Court has entered the Final Approval Order, provided that no timely
14                objection has been made or that all timely objections have been
15                resolved or withdrawn, thus triggering the appeal waiver in section
16                8.4.8. If an objection to the Settlement is timely filed and has not been
17                resolved or withdrawn by the date on which the Court has entered the
18                Final Approval Order, Finality shall be the date on which the deadline
19                for taking an appeal has passed, or, if there is an appeal of the Court’s
20                Final Approval Order, the day after all appeals are fully and finally
21                resolved in favor of final approval of the Agreement.
22          1.19 Gross Fund. The “Gross Fund” means the common settlement fund
23                account in the sum of Two Million One Hundred Fifty Thousand
24                Dollars And Zero Cents ($2,150,000.00) that is established by the
25                Settlement Administrator and shall be used to pay all Settlement
26                payments to Claimants and Lazy Dog’s share of any federal, state and
27                local payroll taxes (including FICA, FUTA and SUTA) with respect to
28                all Settlement payments to these individuals treated as wages for tax

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 1                purposes; all Service Award(s); Class Counsel’s attorneys’ fees, costs
 2                and expenses; and the fees and expenses of the Settlement
 3                Administrator.    Other than the limited circumstance described in
 4                section 3.10, there shall be no reversion of any monies from the Gross
 5                Fund to Lazy Dog under any circumstances. Under no circumstances
 6                shall Lazy Dog be responsible for paying more than $2,150,000.00 in
 7                the Settlement of this Litigation.
 8          1.20 Litigation. “Litigation” means the action pending in the United States
 9                District Court for the Central District of California Case No. 5:20-CV-
10                00921-FLA, on behalf of Named Plaintiffs and the allegations and
11                claims made therein.
12          1.21 Named Plaintiffs. “Named Plaintiffs” means Cathy Sypherd, Patricia
13                Brummett and Kimberly Watt. For purposes of this Settlement only,
14                the Settlement Administrator will deem Named Plaintiffs as both
15                California Class Members and Settlement Collective Members,
16                regardless of whether they would be deemed class members or
17                collective members in litigation.
18          1.22 Named Plaintiff Service Award(s). “Named Plaintiff Service Award”
19                means the additional amounts paid to the Named Plaintiffs, determined
20                by the Court, for their service in this Litigation (see § 5.1).
21          1.23 Notice. “Notice” means the Notice of Collective and Class Action
22                Settlement, substantially in the form attached hereto as Exhibit 1, and
23                as approved by the Court.
24          1.24 Opt-Ins. “Opt-In” or “Opt-Ins” refers to the following ninety (92)
25                individuals: Edith Catalano; Jenny Armendariz; Joe DiTrapani; Karen
26                McClure; Mary Borgognone; Rachel Robinson; Wendy Garrod; Linda
27                Goodman; Brandon Cosenza; Christopher Sobolewski; Kimberly
28                Tucci; Camille Bruce-Dozier; Brenda Davis; Luis Torres; Rose

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 1                Chadwick; Matthew Armbruster; Robert Kenner; Ryan Wolovnik;
 2                Brian Scanlan; Jimmy Meneses; Jeremy Sullivan; Michele Carpeneti;
 3                Silvina Gonzalez; Gabriel Alejandro Martinez Sanchez; Suzy Shi;
 4                Kevin Cox; Danielle Giannini; Faramarz Moradeslami; Mary-Pat
 5                Mack; Josh Parsons; Christy Dunn; James Tomlinson; Roberto
 6                Sanchez; Erin McDowell; Laura Lendennie; Elizabeth Bradford;
 7                Carlos Meneses; Andrew Christenson; David Rosa; Franco Vessia;
 8                Jeanette Erwin; Kimberly Heintz; Carol Brenenstahl; Charles Sturrock;
 9                James Hopper; Rene Quiroz; Karen Cross; Gilbert Atilano; Margarita
10                Castillo; Gema Jimenez; Curtis Bustamente; Tracie Bachman; Erik
11                Wilson; Jennifer Stubbs; Rebecca Van Sickle; Theresa Ayers; Veronica
12                Beels; Samantha Hundermark; Gabriel Frias; Valerie Cimbura; Jeff
13                Clark; Judy Crowhurst; Theresa Moore; Lorie Kerns; Carmelita
14                Morehouse; Christopher Salem; Amelia Elenna-Hernandez; Sophia
15                Nicholas; Jonathan Huggins; Erica Miyagishima; Rosa Plascencia;
16                Tammy Dailey; Charlotte Curtis; Edward Frederick; Yadira Hunt;
17                Rosanne Geborkoff; Kristine Morillas; Jaime May; Nancy Roybal;
18                Sunday Thompson; Tammy Rievley; Gina Morris; Linda Rodriguez;
19                Sherry Olsen; Tracy Duran; Robert Sedani; Oscar Apodaca; Dave
20                Schomaker; Peggy Lazzarini; Stephanie Campbell, Shima Jackson, and
21                Christina Palmieri.
22          1.25 Participating Class and Participating Collective Members.
23                "Participating Class" and "Participating Collective Members" means
24                all individuals in the California Class and Settlement Collective,
25                as approved by the Court, who do not elect exclusion and do not
26                timely opt out of the monetary relief provisions of the Settlement
27                pursuant to the terms and conditions for exclusion set forth in the
28                Settlement Agreement and Notice.

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 1          1.26 Parties. “Parties” means the Plaintiffs in this action and Defendant
 2                Lazy Dog Restaurants, LLC.          “Party” means either Plaintiffs or
 3                Defendant Lazy Dog Restaurants, LLC.
 4          1.27 Preliminary Approval Order. “Preliminary Approval Order” means
 5                the Order entered by the Court preliminarily approving, inter alia, the
 6                terms and conditions of this Agreement, the manner and timing of
 7                providing Notice, and the time period for, and the manner of, opt-outs
 8                and objections.
 9          1.28 Qualified Settlement Fund or QSF. “Qualified Settlement Fund” or
10                “QSF” means “qualified settlement fund” within the meaning of Treas.
11                Reg. § 1.468B-1. The Court’s preliminary approval of this Settlement
12                will constitute valid authority to establish and maintain the QSF.
13          1.29 Released Parties. “Released Parties” means Lazy Dog Restaurants,
14                LLC and its member firms, their past and present direct and indirect
15                parents, subsidiaries, affiliates, divisions, predecessors, successors and
16                assigns, and their past and present partners, principals, employees,
17                officers, attorneys, insurers, reinsurers, representatives and agents,
18                whether acting as agents or their respective administrators, fiduciaries,
19                trustees and insurers and reinsurers, whether acting as agents or in
20                individual capacities, and this Agreement shall inure to the benefit of
21                and shall be binding upon and enforceable by all such entities and
22                individuals.
23          1.30 Reserve Claims. “Reserve Claims” means claims made by Claimants,
24                if any, pursuant to the process set forth in section 9, below.
25          1.31 Reserve Fund. “Reserve Fund” means the $55,000 fund set aside from
26                the Gross Settlement Amount to pay post-Finality “Reserve Claims”
27                during the “Reserve Period.”
28

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 1          1.32 Reserve Period.         “Reserve Period” means the 15-month period
 2                beginning at Finality as described in section 9.1.
 3          1.33 Settlement Administrator. The “Settlement Administrator” means
 4                the entity selected by Class Counsel subject to Lazy Dog’s approval to
 5                administer the Settlement through a competitive bidding process. CPT
 6                Group has been selected as the Settlement Administrator.
 7          1.34 Settlement Collective.         “Settlement Collective” or “Settlement
 8                Collective Members” means all the applicants (a) who applied to and
 9                were denied Covered Positions on or after December 4, 2016, (b) who
10                were aged 40 or older at the time of application, and (c) who opt(ed)
11                into this Litigation pursuant to the federal Age Discrimination in
12                Employment Act of 1967, as amended, 29 U.S.C. §§ 621, et seq.
13                (“ADEA”) on or before October 8, 2021.
14          1.35 Settlement Collective Fund. The “Settlement Collective Fund” shall
15                be the Distribution Fund less the California Payment Fund.
16    2.    GENERAL TERMS
17          2.1   Full resolution. It is the desire of the Parties to fully, finally and forever
18                settle, compromise and discharge all disputes arising from or related to the
19                Litigation, which exist between them, and between the Released Parties and
20                the Covered Individuals.
21          2.2   Complete settlement and release. It is the intention of the Parties that this
22                Agreement shall constitute a full and complete settlement and release of all
23                Released Claims, as defined in section 11.1, against all Released Parties and
24                a dismissal of all pending actions covered by the Released Claims.
25          2.3   Denials. Lazy Dog denies all claims as to liability, wrongdoing, damages,
26                penalties, interest, fees, injunctive relief and all other forms of relief, as well
27                as the class and collective allegations asserted in the Litigation. Lazy Dog has
28                agreed to resolve the Litigation via this Agreement, but to the extent this

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 1                Agreement is deemed void or Finality does not occur, Lazy Dog does not
 2                waive, but rather expressly reserves, all rights to challenge any and all claims
 3                and allegations asserted by the Plaintiffs in the Litigation upon all procedural
 4                and substantive grounds, including without limitation the ability to challenge
 5                class or collective action treatment on any grounds and to assert any and all
 6                other potential defenses, privileges, or arbitration rights. Plaintiffs and Class
 7                Counsel agree that Lazy Dog retains and reserves these rights, and they agree
 8                not to take a position to the contrary. Specifically, Plaintiffs and Class
 9                Counsel agree that, if the Litigation were to proceed, they shall not argue or
10                present any argument that Lazy Dog should be barred from contesting class
11                action certification pursuant to Federal Rule of Civil Procedure 23 on any
12                grounds relating to this Agreement, pursuing decertification of the
13                conditionally certified ADEA collective action, or asserting any and all other
14                potential defenses and privileges. Plaintiffs and Class Counsel hereby waive
15                any such argument, including any argument based on this Settlement or this
16                Agreement or any exhibit and attachment hereto, or any act performed or
17                document executed pursuant to or in furtherance of this Settlement or this
18                Agreement. This Agreement shall not be deemed an admission by, or a basis
19                for estoppel against, Lazy Dog that class action treatment pursuant to Federal
20                Rule of Civil Procedure 23 or certification of the ADEA collective action
21                pursuant to 29 U.S.C. § 216(b) is proper or cannot be contested on any
22                grounds. Additionally, neither the Agreement nor the Settlement, nor any act
23                performed or document executed pursuant to, or in furtherance of, the
24                Agreement or the Settlement: (a) is or may be deemed to be or may be used
25                as an admission or evidence of the validity of any Released Claim, or of any
26                wrongdoing or liability of the Released Parties, or any of them; or (b) is or
27                may be deemed to be or may be used as an admission or evidence of any fault
28                or omission of the Released Parties, or any of them, in any civil, criminal, or

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 1                administrative proceeding in any court, administrative agency, or other
 2                tribunal.
 3          2.4   Release. Upon Finality, Participating Class and Participating Collective
 4                Members shall release the claims actually pled in the operative Complaint and
 5                those that could have been raised based on the allegations in the operative
 6                Complaint. (See § 11.) Named Plaintiffs shall sign a general release of claims
 7                against the Released Parties, in the form attached hereto as Exhibit 3
 8                (“General Release”).
 9          2.5   Not evidence. Neither this Agreement nor anything in it, nor any part of the
10                negotiations that occurred in connection with the creation of this Settlement,
11                shall constitute evidence with respect to any issue or dispute in any lawsuit,
12                legal proceeding or administrative proceeding, except for legal proceedings
13                concerning the enforcement or interpretation of this Agreement.
14          2.6   Cooperation. The Parties agree to cooperate and shall aim to effectuate and
15                implement all terms and conditions of this Agreement and to obtain the
16                Court’s approval of this Agreement and all of its terms. All the Parties, upon
17                the request of any other, agrees to perform such further acts and to execute
18                and deliver such other documents, data and information as are reasonably
19                necessary to carry out the provisions of this Agreement.
20    3.    MONETARY RELIEF
21          3.1   Gross Fund Payment. Within ten (10) business days after Finality, Lazy
22                Dog shall wire the Gross Fund amount of Two Million One Hundred
23                Thousand Fifty Dollars and Zero Cents ($2,150,000.00) to the Settlement
24                Administrator to fund the common Qualified Settlement Fund (“QSF”).
25          3.2   Gross Fund Allocation. The Gross Fund shall be allocated as follows:
26                3.2.1 The Named Plaintiff Service Awards as described in section 5.1
27                      and as approved by the Court.
28

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 1                3.2.2 The fees and costs of the Settlement Administrator, estimated to
 2                      be Seventeen Thousand Dollars and Zero Cents ($17,000.00).
 3                3.2.3 Attorneys’ fees and costs as described in section 4 and as
 4                      approved by the Court.
 5                3.2.5 The Reserve Fund as described in section 9.
 6                3.2.6 Lazy Dog’s share of any federal, state and local payroll taxes
 7                      (including FICA, FUTA and SUTA) with respect to any
 8                      payments to Claimants pursuant to this Settlement that are
 9                      treated as wages for tax purposes.
10                3.2.7 The Distribution Fund to be allocated among the Claimants
11                      according to the plan of allocation for individual monetary
12                      awards set forth in section 3.3 and distributed as set forth herein
13                      and pursuant to orders of the Court.
14          3.3   Individual Monetary Awards. The Distribution Fund will be separated into
15                a California Class Fund and a Settlement Collective Fund and will be
16                distributed to Covered Individuals who qualify for each respective fund pro
17                rata (equally regardless of number of applications or any other factor) which
18                shall be calculated as follows:
19                3.3.1 California Class Members. Payment to the California Class members
20                      will be paid on a pro rata basis from the California Class Fund. Eligible
21                      California Class members must submit a timely and valid Claim Form
22                      (Exhibit 2, attached hereto) in order to be eligible for a pro rata
23                      payment from the California Class Fund.
24                3.3.2 Settlement Collective Members.            Payment to the Settlement
25                      Collective Members shall be on a pro rata basis from the Settlement
26                      Collective Fund. Settlement Collective Members must submit a timely
27                      and valid Claim Form (Exhibit 2) in order to be eligible for a pro rata
28                      payment from the Settlement Collective Fund. In order for Settlement

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 1                      Collective Members to receive a second payment on a pro rata basis
 2                      from the California Class Fund, Settlement Collective Members must
 3                      also be a California Class member as defined in section 1.3 of this
 4                      Agreement.       Covered Individuals who are both California Class
 5                      members and Settlement Collective Members will receive one (1)
 6                      payment on a pro rata basis from the California Class Fund and one (1)
 7                      payment on a pro rata basis from the Settlement Collective Fund,
 8                      provided they submit a timely valid Claim Form and do not request
 9                      exclusion.
10                3.3.3 Lazy Dog to Provide Information. Within fifteen (15) business days
11                      after the date of the Preliminary Approval Order, Lazy Dog shall
12                      provide to the Settlement Administrator the same fields of applicant
13                      data previously produced to Class Counsel in the Litigation, updated to
14                      include all Covered Individuals, in the format previously produced to
15                      Class Counsel in the Litigation, with incorporation of (i) applicant data
16                      from paper applications from December 4, 2016 through January 1,
17                      2017, in the case of the Settlement Collective, and from December 4,
18                      2015 through December 31, 2016, in the case of the California class as
19                      agreed upon by the Parties; and (ii) the class lists relied upon in the
20                      Litigation by the Parties’ respective experts (Ted Tatos for Plaintiffs,
21                      and Ali Saad, Ph.D. for Defendant). The Settlement Administrator
22                      shall maintain this data in the strictest confidence and shall not disclose
23                      it to anyone except Class Counsel, who shall remain bound by the
24                      Protective Order entered by the Court in this Action (ECF Document
25                      33), and Defense Counsel, unless otherwise agreed by the Parties.
26                3.3.4 Verification of Date of Birth Information. Class Members must sign
27                      the Claim Form which verifies that they were 40 years of age or older
28                      when they applied to Lazy Dog during the specified time period. A

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 1                      Claim Form will be deemed deficient if it does not include the
 2                      Claimant's social security number and is not signed and dated by the
 3                      Claimant and returned by the deadline provided in the Notice. If any
 4                      Claim Form received by the Settlement Administrator is incomplete or
 5                      deficient, the Settlement Administrator shall send a letter informing the
 6                      Participating Class and/or Collective Member of the deficiency and
 7                      allow ten (10) days to cure the deficiency. If after the cure period or
 8                      claims period, whichever is later, the Claim Form is not cured,
 9                      Participating Class Member will still be bound by the terms of the
10                      Release. A Participating Class and/or Collective Member who returns
11                      a Claim Form with his or her social security number and signature but
12                      does not otherwise cure an incomplete or deficient Claim Form will still
13                      be entitled to participate in the settlement and receive a settlement
14                      payment.
15
            3.4   Distribution of Monetary Awards. The Settlement Administrator shall
16
                  distribute the individual monetary awards as set forth herein and pursuant to
17
                  the orders of the Court.
18
            3.5   Payroll Taxes. The Settlement Administrator shall calculate Lazy Dog’s
19
                  share of any federal, state and local payroll taxes (including FICA, FUTA and
20
                  SUTA) attributable to any payments to Claimants treated as wages pursuant
21
                  to section 6.5. The Settlement Administrator shall be responsible for remitting
22
                  those taxes to the appropriate taxing authorities from the Gross Fund and filing
23
                  the required tax returns. The Settlement Administrator shall calculate each
24
                  Claimant’s share of any federal, state and local payroll taxes attributable to
25
                  any monetary payments treated as wages pursuant to section 6.5.             The
26
                  Settlement Administrator shall be responsible for withholding those amounts
27
                  from the monetary payments and remitting those taxes to the appropriate
28

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 1                taxing authorities, filing the required tax returns and issuing the required tax
 2                forms to the Claimants.
 3          3.6   Remainder. Any remainder not claimed by six months (or 180 days) after
 4                the last reissued check (the “First Residue”) shall be held aside to be
 5                distributed as described in section 9.4. No amount shall revert to Lazy Dog.
 6          3.7   Control of the Gross Fund. The Gross Fund shall be controlled by the
 7                Settlement Administrator subject to the terms of this Agreement and any
 8                orders of the Court. Interest earned on the Gross Fund, if any, shall derive
 9                from interest earned on uncashed checks, if any, and may be retained by the
10                Settlement Administrator to cover the cost of administering the resolution of
11                those uncashed checks.
12          3.8   Common Fund. The Gross Fund shall constitute a “common fund.” Upon
13                the Settlement Administrator opening this account, Lazy Dog shall execute an
14                election statement provided by the Settlement Administrator, which shall be
15                affixed to the initial tax return of the Gross Fund in order to establish the start
16                date of the Gross Fund. The Gross Fund shall be created, managed and
17                distributed by the Settlement Administrator subject to the terms of this
18                Agreement and any orders of the Court. The Settlement Administrator shall
19                be the only entity authorized to make withdrawals or payments from the Gross
20                Fund.
21          3.9   Tax Allocation. The Settlement Administrator shall allocate thirty percent
22                (30%) of each Claimant’s monetary award to wages (reported on IRS Form
23                W-2) and seventy percent (70%) to non-wage compensation for liquidated
24                damages and/or emotional distress or interest (reported on IRS Form 1099).
25          3.10 Return of Gross Fund if Settlement is Voided.                     The Settlement
26                Administrator shall have the obligation to return to Lazy Dog the entire then-
27                remaining Gross Fund within seven (7) business days in the event that this
28                Agreement is rendered null and void as set forth in this Agreement. Any fees

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 1                and costs incurred by the Settlement Administrator to that point will be shared
 2                equally between Lazy Dog and Plaintiffs.
 3    4.    ATTORNEYS’ FEES AND COSTS
 4          4.1   At least ten (10) business days before the end of the Claims Period, Class
 5                Counsel shall petition the Court for an award of attorneys’ fees not to exceed
 6                30% of the Gross Fund, or Six Hundred Forty Five Thousand Dollars
 7                ($645,000) and reimbursement of actual costs not to exceed One Hundred
 8                Seventy Five Thousand Dollars ($175,000) that shall fully compensate Class
 9                Counsel for the attorneys’ fees and litigation costs incurred at any time in
10                connection with the Litigation. Should the Court award a lesser amount of
11                fees or costs, the difference between this amount and the amount awarded for
12                fees and costs shall be added to the Gross Fund.
13          4.2   Lazy Dog agrees that Plaintiffs and Class Counsel are entitled to an award of
14                reasonable attorneys’ fees and costs in the Litigation and shall not oppose
15                Class Counsel’s fees and costs request subject to section 4.1. The Parties
16                agree that the full amount of the attorneys’ fees and costs awarded in this
17                action shall be paid from the Gross Fund.
18          4.3   The outcome of any proceeding related to Class Counsel’s application for
19                attorneys’ fees and costs shall not terminate this Agreement or otherwise
20                affect the Court’s Final Approval ruling.
21          4.4   Payment of Class Counsel’s attorneys’ fees and costs approved by the Court
22                shall be made from the Gross Fund within twenty (20) days after entry of the
23                Final Approval Order.
24    5.    SERVICE AWARDS
25         5.1    Service award request. At least ten (10) business days before the end of the
26                Claims Period, Class Counsel shall apply to the Court to receive no more than
27                the following amounts as Service Awards: Ten Thousand Dollars ($10,000)
28                for each Plaintiff.

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 1         5.2    Lazy Dog’s position. Lazy Dog shall not oppose the Court-approved Service
 2                Awards up to the above-listed amounts, which shall be deducted from the
 3                Gross Fund.
 4         5.3    Separate from Distribution Fund awards. The Service Awards are in
 5                addition to the Named Plaintiffs’ recovery from the Distribution Fund.
 6         5.4    Significance of ruling. The outcome of the Court’s ruling on the application
 7                for Service Awards shall not terminate this Agreement or otherwise affect the
 8                Court’s Final Approval ruling.
 9    6.    DISTRIBUTION OF INDIVIDUAL MONETARY AWARDS
10          6.1   Settlement Checks. The Settlement Administrator shall mail all individual
11                monetary awards to Claimants no later than twenty (20) business days after
12                Finality. The mailing shall clearly explain that the checks will expire in 180
13                days.
14          6.2   Efforts to encourage Claimants to cash checks.                  The Settlement
15                Administrator shall, in conjunction with Class Counsel, undertake reasonable
16                efforts to encourage Claimants to cash their settlement award checks,
17                including reissuance of checks and renewed attempts to locate and contact
18                Claimants who have not cashed their checks.
19          6.3   Uncashed Checks and Unused Funds. The aggregate value of uncashed
20                checks for all Claimants after all settlement checks are cashed or become stale
21                shall constitute the “First Residue” to be held for redistribution as set forth in
22                section 9.4.
23          6.4   Final Report by Settlement Administrator. Within one month after all
24                disbursements of money required by the Settlement Agreement have been
25                made, the Settlement Administrator shall provide Class Counsel and
26                Defendant’s Counsel with a declaration providing a final report on the
27                disbursements of all funds.
28          6.5   Taxability of Settlement Payments

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 1                6.5.1 For tax purposes: 30% of payments to Claimants pursuant to
 2                      section 3.3.1 and 3.3.2 shall be treated as wage payments
 3                      (reported on IRS Form W-2) and 70% of such payments shall be
 4                      treated as non-wage income as compensatory or liquidated
 5                      damages/non-wage damages and interest (reported as non-wage
 6                      income on IRS Form 1099).
 7                6.5.2 Payments treated as W-2 wages pursuant to sections 3.9 and
 8                      6.5.1 shall be made net of all applicable payroll taxes, including,
 9                      without limitation, federal, state and local income tax
10                      withholding and the employee share of the FICA tax and shall be
11                      reported to the Internal Revenue Service (“IRS”), and the payee
12                      under the payee’s name and social security number on an IRS
13                      Form W-2. Payments treated as compensatory or liquidated
14                      damages/non-wage damages and interest pursuant to sections 3.9
15                      and 6.5.1 shall be made without withholding and shall be
16                      reported to the IRS and the payee, to the extent required by law,
17                      under the payee’s name and social security number on an IRS
18                      Form 1099. Any Service Awards made pursuant to section 5
19                      shall be made without withholding and reported to the IRS under
20                      the payee’s name and social security number on an IRS Form
21                      1099.
22                6.5.3 If it is subsequently determined by a tax authority that any
23                      Claimant owes any additional taxes with respect to any money
24                      distributed under this Agreement, it is expressly agreed that the
25                      determination of any tax liability is between the payment
26                      recipient and the tax authorities, and that neither Class Counsel,
27                      the Released Parties nor Defendant’s Counsel shall be
28                      responsible for the payment of such taxes, including any interest

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 1                      and penalties. Further, neither Lazy Dog, Defendant’s Counsel
 2                      nor Class Counsel is providing tax advice to Claimants, and
 3                      neither   makes     any   representations   regarding   the    tax
 4                      characterization of any Settlement payments or any tax
 5                      obligations of, or tax consequences to, any Claimant.
 6    7.    FORM OF NOTICE AND CLAIM FORM
 7          7.1   Notice and Date of Claim Form information. All Covered Individuals shall
 8                receive a Notice substantially in the form set forth in Exhibit 1 and a Claim
 9                Form substantially in the form set forth in Exhibit 2, each attached hereto.
10                The Notice documents shall be tailored to each individual and have pre-
11                printed information to the extent practicable.
12          7.2   Mail transmission. The Notice and Claim Form shall be delivered as set
13                forth in section 8.2 of this Agreement.
14    8.    ADMINISTRATION OF SETTLEMENT
15          8.1   Settlement Administrator’s Duties
16                8.1.1 List of duties. The Settlement Administrator shall:
17                      (1)    provide notice of the proposed Settlement to state and
18                             federal officials as required by the Class Action Fairness
19                             Act, 28 U.S.C. section 1715(b), no later than ten (10)
20                             calendar days after the Court’s Preliminary Approval
21                             Order of the Settlement; draft and prepare the CAFA
22                             notice in conformity with 28 U.S.C. section 1715, and
23                             subject to Lazy Dog’s approval.          The Settlement
24                             Administrator shall provide a draft of the CAFA Notice to
25                             Lazy Dog no later than three (3) calendar days after the
26                             Court’s Preliminary Approval Order of the Settlement.
27
28

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 1                      (2)    mail and e-mail the Notice and Claim Forms to the
 2                             Covered Individuals after performing age and address
 3                             checks required by sections 3.3.3 and 8.2.5;
 4                      (3)    respond to questions from the Covered Individuals;
 5                      (4)    distribute individual monetary awards to Claimants;
 6                      (5)    enable the Covered Individuals to review the Notice and
 7                             submit Claim Forms via mail and email; and provide a
 8                             toll-free number for communicating with the Settlement
 9                             Administrator;
10                      (6)    no later than twenty (20) days after the Court’s entry of the
11                             Final Approval Order, distribute Service Awards to
12                             Named Plaintiffs;
13                      (7)    no later than twenty (20) days after the Court’s entry of the
14                             Final Approval Order, distribute amounts approved by the
15                             Court as Attorneys’ Fees and Incurred Costs to Class
16                             Counsel;
17                      (8)    no later than fifteen (15) business days after Lazy Dog
18                             funds the Gross Fund, place in escrow all other amounts
19                             transmitted by Lazy Dog;
20                      (9)    determine Lazy Dog’s share of taxes owed in respect to
21                             any payments to Claimants and remit them to the taxing
22                             authorities, file required federal, state, or local tax returns,
23                             as required, and take all other actions required by section
24                             3.2.6;
25                      (10) determine each Claimant’s share of taxes owed in respect
26                             to any payments made, and take all applicable actions with
27                             respect to those taxes as set forth in section 3.2.6;
28                      (11) distribute funds to the cy pres recipients;

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 1                      (12) perform any other duties set forth in this Agreement; and
 2                      (13) perform any other duties reasonably appropriate to carry out its
 3                             responsibilities described in this Agreement and/or ordered by
 4                             the Court.
 5                8.1.2 Cooperation. The Parties agree to cooperate with the Settlement
 6                      Administrator and assist it in administering the Agreement,
 7                      including working with the Settlement Administrator in making
 8                      all reasonable efforts to ensure efficiency, minimize the costs and
 9                      expenses, and promote effective administration.
10                8.1.3 Cost limits. The Settlement Administrator shall not incur any
11                      costs and expenses above those explicitly agreed to by the Parties
12                      in writing without prior approval of the Parties.
13                8.1.4 Updates. Upon reasonable request by either counsel, and on its
14                      own initiative at regular intervals, the Settlement Administrator
15                      shall provide Class Counsel and Defendant’s Counsel with a
16                      statement detailing its implementation activities and costs of
17                      administration. Class Counsel shall file such information with
18                      the Court at appropriate times, including before and after the
19                      Final Approval Hearing.
20          8.2   Notice and Claim Form Procedures
21                8.2.1 Notice mailing and emailing. Within twenty-one (21) business
22                      days after receipt of the applicant data, the Settlement
23                      Administrator will (1) mail the Notice and Claim Form, as
24                      approved by the Court, to the Covered Individuals, by first class
25                      mail, postage prepaid, and (2) email copies to those for whom an
26                      email address is available. The Parties intend to provide actual
27                      notice to each Covered Individual, to the extent practicable.
28

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 1                8.2.2 Reminders. The Settlement Administrator shall send reminder
 2                      notices via mail or emails to the Covered Individuals who have
 3                      not responded to the Notice approximately fifteen (15) days
 4                      before the end of the Claims Period.
 5                8.2.3 De-duplication and NCOA database. To provide the best
 6                      notice practicable, the Settlement Administrator shall (a) de-
 7                      duplicate the list of Covered Individuals and (b) run the list
 8                      through the United States Postal Service’s National Change of
 9                      Address database and update its list of their contact information
10                      based on the results, before mailing the Notice.
11                8.2.4 Returned mail.       If Notices are returned to the Settlement
12                      Administrator by the United States Postal Service because the
13                      address of the recipient is no longer valid, i.e., the envelope is
14                      marked “Return to Sender,” the Settlement Administrator shall
15                      perform a standard skip trace up to two (2) times in an effort to
16                      attempt to ascertain the current address of the particular
17                      individual in question and, if such an address is ascertained, the
18                      Settlement Administrator shall re-send the Notice by First Class
19                      U.S. Mail to the new address within three (3) business days of
20                      receiving the newly ascertained address.        With respect to
21                      envelopes marked “Return to Sender,” the Settlement
22                      Administrator may also call any identified last- known telephone
23                      numbers (and telephone numbers updated through public and
24                      proprietary databases) of the Covered Individuals to obtain
25                      current addresses.
26                8.2.5 Claims, Opt-out and Objection Period.          The deadline for
27                      Covered Individuals to submit a Claim Form, object and/or opt
28                      out shall be forty-five (45) calendar days from the date of the

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 1                      initial Notice mailing (“Claims Period”). Any such submission
 2                      that is received by the Settlement Administrator or postmarked
 3                      within the Claims Period shall be timely. Any subsequent or
 4                      corrected mailings pursuant to § 8.2.6, shall not restart or extend
 5                      the 45-day period.
 6                8.2.6 Weekly summaries. During the Claims Period, the Settlement
 7                      Administrator shall provide the Parties with weekly summaries
 8                      as to the status of Notice mailings, including the number of
 9                      Notices which were re-mailed, the number of successful and
10                      unsuccessful mailings, the number of completed Claim Forms,
11                      and the number of individuals who have opted out and/or
12                      objected.
13                8.2.7 List of returned notices. The Settlement Administrator shall
14                      provide to Defendant’s Counsel and Class Counsel, at least
15                      twenty (20) calendar days prior to the close of the Claims Period,
16                      a list of Covered Individuals to whom notices were returned as
17                      undeliverable and for whom efforts to obtain an alternative
18                      address failed.
19                8.2.8 Settlement Administrator declaration. Class Counsel shall
20                      provide the Court, before the Final Approval Hearing, a
21                      declaration by the Settlement Administrator of due diligence and
22                      proof of mailing with regard to the mailing of the Notice.
23          8.3   Opt-Outs
24                8.3.1 How to opt out. Covered Individuals may request exclusion
25                      from the monetary relief provisions of the Settlement by “opting
26                      out” during the Claims Period. Any individual who chooses to
27                      “opt out” must mail a written, signed statement to the Settlement
28                      Administrator that s/he is opting out (“Opt-Out Statement”). The

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 1                      Opt-Out Statement must contain the name, address and telephone
 2                      number of the individual to be valid. It must also contain the
 3                      following words in order to be valid: “I decline to provide a
 4                      release of claims and instead elect to exclude myself from the
 5                      monetary relief provisions in the Settlement in Sypherd v. Lazy
 6                      Dog Restaurants, LLC. That means I will not be entitled to any
 7                      of the monetary proceeds of the Settlement.” To be effective,
 8                      such Opt-Out Statement must be sent via mail or email and
 9                      postmarked or received by a date certain to be specified on the
10                      Notice. The postmark date of the mailing envelope shall be the
11                      exclusive means used to determine whether a request for
12                      exclusion (opt-out) has been timely submitted.          Once an
13                      individual submits an Opt-Out Statement, he or she cannot later
14                      revoke it and cannot object to the Settlement, without prior
15                      written approval by the parties.
16                8.3.2 Opt-out reporting. The Settlement Administrator shall provide
17                      copies of each Opt-Out Statement (including a stamp on the
18                      original of the Opt-Out Statement showing the date it was
19                      received) to Class Counsel and Defendant’s Counsel by email no
20                      later than two (2) business days after receipt thereof.      The
21                      Settlement Administrator shall, within five (5) business days
22                      after the end of the Claims Period, email a final list of all Opt-
23                      Out Statements to Class Counsel and Defendant’s Counsel.
24                      Should Settlement Administrator receive any additional timely
25                      Opt-Out Statements after five (5) business days, the Settlement
26                      Administrator will email those to Class Counsel and Defendant’s
27                      Counsel within one (1) business day.            The Settlement
28                      Administrator shall retain the stamped originals of all Opt-Out

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 1                      Statements and originals of all envelopes accompanying Opt-Out
 2                      Statements in its files until such time as the Settlement
 3                      Administrator is relieved of its duties and responsibilities under
 4                      this Agreement.
 5          8.4   Objections
 6                8.4.1 How to object.      Covered Individuals who wish to present
 7                      objections to the Settlement at the Final Approval Hearing must
 8                      do so in a written, signed statement. To be considered, such
 9                      objections must be mailed to or filed in person with the Court
10                      during the Claims Period. The postmarked date of the objection
11                      shall be the exclusive means for determining that a mailed
12                      objection is timely. The statement must contain the name,
13                      address and telephone number of the Covered Individual to be
14                      valid. It must also contain words to the effect of “I object to the
15                      settlement in Sypherd v. Lazy Dog Restaurants, LLC, and
16                      understand that as a result of this objection, I am agreeing to
17                      submit to certain court proceedings, including having my
18                      deposition taken,” and set forth the legal and factual basis for the
19                      objection. Covered Individuals who fail to make objections in
20                      the manner specified herein shall be deemed to have waived any
21                      objections and shall be foreclosed from making any objection
22                      (whether by appeal or otherwise) to the Agreement.
23                8.4.2 Objection reporting. If the Settlement Administrator receives
24                      any objections, it shall stamp on the original of any mailed
25                      objection or on the printed version of any emailed objection that
26                      it receives the date it was received and shall send copies of each
27                      objection to Class Counsel and Defendant’s Counsel by email
28                      not later than two (2) business days after receipt thereof. Class

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 1                      Counsel shall file the objections with the Clerk of Court within
 2                      three (3) business days after the end of the Claims Period.
 3                      Should the Settlement Administrator receive any additional
 4                      objections after two (2) business days after the end of the Claims
 5                      Period, the Settlement Administrator will email those to Class
 6                      Counsel and Defendant’s Counsel within one (1) business day.
 7                      Class Counsel must promptly file each objection it receives from
 8                      any source other than the Court.
 9                8.4.3 Appearance by objector. An objector who wishes to appear at
10                      the Final Approval Hearing must file with the Clerk of the Court
11                      and serve upon counsel designated in sections 1.6 and 1.13, a
12                      notice of intention to appear at the Final Approval Hearing
13                      (“Notice of Intention to Appear”) no later than the deadline for
14                      the objection set forth in sections 1.5 and 8.2.5. The Notice of
15                      Intention to Appear must include copies of any papers, exhibits,
16                      or other evidence that the objector (or his/her counsel) shall
17                      present to the Court in connection with the Final Approval
18                      Hearing. Any Covered Individual who does not provide a Notice
19                      of Intention to Appear in complete accordance with the deadlines
20                      and other specifications set forth in the Notice and who has not
21                      filed an objection in complete accordance with the deadlines and
22                      other specifications set forth in this paragraph and the Notice,
23                      shall, subject to the Court’s final determination in the exercise of
24                      its discretion, be deemed to have waived their opportunity to
25                      speak or otherwise present any views at any Final Approval
26                      Hearing.
27                8.4.4 Objection withdrawal.          An objector may withdraw his/her
28                      objections at any time.

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 1                8.4.5 Represented objector. Any lawyer representing a Covered
 2                      Individual for the purpose of making objections must also file a
 3                      Notice of Appearance with the Court by the deadline for the
 4                      objection set forth in sections 1.7 and 8.2.5 and must also serve
 5                      copies by mail on counsel for the Parties.
 6                8.4.6 No opt-out and objection. Any individual who has requested
 7                      exclusion by submitting a valid Opt-Out Statement may not
 8                      submit objections to the Settlement. If an individual submits an
 9                      objection and also submits an Opt-Out Statement, the objection
10                      will be deemed null and void because the individual has excluded
11                      himself/herself from the Settlement.
12                8.4.7 Response to objection.        Class Counsel and/or Defendant’s
13                      Counsel should respond to any objections in the Final Approval
14                      Motion, any reply brief and, if appropriate, a separate submission
15                      at least seven (7) business days before the Final Approval
16                      Hearing to the extent practical.
17                8.4.8 Waiver of Right to Appeal. Provided that the Court’s dismissal
18                      order is consistent with the terms and conditions of this
19                      Agreement, then Covered Individuals who did not properly
20                      object to the Settlement and their counsel, as well as Lazy Dog
21                      and its counsel, hereby waive any and all rights to appeal the
22                      dismissal order, including all rights to any post-dismissal
23                      proceeding and appellate proceeding, such as a motion to vacate
24                      the dismissal, a motion for new trial, a motion under Federal Rule
25                      of Civil Procedure 60 and any extraordinary writ, and the
26                      dismissal order therefore shall become final and non-appealable
27                      at the time it is entered. The waiver does not include any waiver
28                      of the right to oppose any appeal, appellate proceedings, or post-

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 1                      dismissal proceedings. Notwithstanding the foregoing, Named
 2                      Plaintiffs and their counsel do not waive their right to appeal any
 3                      order regarding attorneys’ fees or costs.
 4          8.5   No Solicitation of Objection or Request to Opt-Out. The Parties agree that
 5                the decision to opt out should be left to each Covered Individual. If contacted
 6                by a Covered Individual, Class Counsel may provide any advice or assistance
 7                to any individual who so requests. If Defendant’s Counsel is contacted by
 8                members of the Settlement Collective or California Class regarding the
 9                Settlement, counsel shall refer the call or communication to Class Counsel.
10                In addition, at no time shall Plaintiffs, Lazy Dog, or their respective counsel
11                seek to solicit or otherwise encourage Covered Individuals or any other
12                persons to submit written objections to the Settlement or encourage Covered
13                Individuals to appeal the Court’s final approval order and entry of judgment,
14                or to submit Opt-Out Statements.
15    9.    RESERVE CLAIMS PROCESS
16          9.1   Structure.    A “Reserve Fund” of Fifty-Five Thousand Dollars
17                ($55,000.00) will be set aside from the Gross Settlement Amount to pay
18                any post-Finality “Reserve Claims” during the 15-month “Reserve
19                Period” beginning at Finality. Any Claimant who both (a) seeks
20                employment with Lazy Dog in a Covered Position and (b) is not hired
21                into such position during the Reserve Period will be allowed to submit
22                a claim within the two months after the Reserve Period as the sole
23                remedy for any alleged age discrimination claim against Lazy Dog that
24                relates to their application. Claimants will be barred from filing against
25                Lazy Dog or any of the Released Parties a lawsuit, an administrative
26                charge with the EEOC or state/local agencies, or an arbitration demand,
27                asserting claims of discrimination on the basis of age and/or claims of
28                retaliation for raising claims of discrimination on the basis of age,

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 1                relating to Lazy Dog’s failure to hire them for any application made
 2                during the Reserve Period. An individual submitting such a claim will
 3                be referred to as a “Reserve Petitioner.” This process shall be the
 4                Claimants’ sole remedy for such claims.
 5          9.2   Reserve Fund Payment. Within three months after the reserve claim
 6                submission deadline, the Settlement Administrator will review all
 7                reserve claims to assess the merit of each claim. Each meritorious claim
 8                will be paid on a pro rata basis based on the same formula set forth in
 9                section 3.3.1 above except that no Reserve Fund Payment shall exceed
10                the individual monetary award paid to each California Class Member.
11                Payments of Reserve Claims, if any, will be made within two (2)
12                months following the close of the three-month review period.
13          9.3   Reserve Fund cap. In no circumstance will the payments made (to
14                Reserve Petitioners or anyone else) exceed the amount of the Reserve
15                Fund, and in no circumstance will Lazy Dog pay more than the Gross
16                Settlement Amount because of the Reserve Fund process or for any
17                reason.
18          9.4   Redistribution. The part of the Reserve Fund that remains unclaimed
19                will be the “Second Residue.” The First Residue and the Second
20                Residue (together, the “Total Residue”) will be redistributed to the
21                Claimants who received money from the initial settlement distribution
22                (as opposed to the Reserve Petitioners) as follows. First, if there are
23                fees incurred in Settlement Administration above those initially
24                awarded by the Court that the Court orders to be paid from the Total
25                Residue, those will be paid or held aside for future payment to the
26                Settlement Administrator.      The remaining amount will be the
27                “Redistribution Fund.” Then, (1) if the Redistribution Fund is greater
28                than $30,000.00 it will be redistributed to the Claimants on a pro rata

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 1                basis, except that no Claimant will receive less than Ten Dollars
 2                ($10.00) through this redistribution (anyone whose redistribution
 3                payment would equal less than Ten Dollars ($10.00) shall receive no
 4                redistribution payment, and their share of the Redistribution Fund shall
 5                be allocated to the other Claimants); (2) if the Redistribution Fund is
 6                less than or equal to $30,000.00, the Redistribution Fund will be given
 7                as a cy pres donation to the California State Bar’s Justice Gap Fund.
 8                No amount shall revert to Lazy Dog. If, after this redistribution, any
 9                funds remain, they will be disbursed pursuant to Court order.
10          9.5   Confidentiality. All participants in the reserve petition process shall
11                treat the process confidentially, including any reserve claims and
12                awards, except that the Settlement Administrator will publicly disclose
13                to the Court anonymized information regarding the process, including
14                the aggregate dollar amount of any unclaimed portion of the Reserve
15                Fund.
16    10.   PRELIMINARY AND FINAL APPROVAL
17          10.1 Preliminary Approval by the Court. By November 19, 2021, Class Counsel
18                shall submit to the Court a Motion for Preliminary Approval of the Settlement
19                (“Preliminary Approval Motion”). The Preliminary Approval Motion shall
20                seek the setting of dates for opt-outs, objections, and a Final Approval Hearing
21                and shall present the [Proposed] Preliminary Approval Order attached hereto
22                as Exhibit 4.
23          10.2 Final Order and Judgment from the Court. Class Counsel shall seek to
24                obtain from the Court a Final Approval Order by motion. The Final Approval
25                Motion shall, among other things, seek: (a) final certification of the California
26                Class for purposes of settlement; (b) final approval of the Settlement
27                Collective members’ ADEA claims; (c) final approval of the California Class
28                and Settlement Collective Members’ claims as fair, adequate, reasonable, and

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 1                binding on all Covered Individuals who have not opted out; and (d) an entry
 2                of judgment in accordance with this Settlement.
 3          10.3 Final Approval Hearing. The Final Approval Hearing shall be held at the
 4                Court’s convenience, but not earlier than ninety (90) calendar days after
 5                CAFA notices are served.
 6          10.4 Non-Severability. Except as otherwise stated in this Agreement, in the event
 7                that the Court voids any provision of the Settlement Agreement and/or any of
 8                its exhibits, the Parties shall renegotiate the Settlement Agreement to the
 9                mutual satisfaction of both Parties before resubmitting to the Court for
10                approval. No Party shall be bound by the terms of the Settlement Agreement
11                if the Court voids any provision of the Settlement Agreement and/or any of
12                its exhibits, and the Parties fail to come to a written, binding agreement
13                submitted to the Court that addresses the Court’s order.
14    11.   RELEASE
15          11.1 Participating Class and Participating Collective Members. Upon Finality,
16                and except as to such rights or claims as may be created by this Agreement,
17                each Participating Class and Participating Collective Member, on his/her
18                behalf and on behalf of his/her respective current, former and future heirs,
19                spouses, executors, administrators, agents and attorneys, fully releases,
20                discharges, and waives any claims against the Released Parties until the
21                Preliminary Approval Order or March 17, 2022 (whichever is earlier),
22                including but not limited to all known and unknown claims, promises, causes
23                of action, or similar rights of any kind that they presently have or may have
24                for discrimination because of age arising out of or relating in any way to any
25                of the legal, factual, or other allegations made in the Litigation, or any legal
26                theories that could have been raised based on the allegations in the First
27                Amended Complaint, including, without limitation, claims under the Age
28                Discrimination in Employment Act of 1967 (“ADEA”), the California Fair

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 1                Employment and Housing Act, Cal. Gov. Code §§12900 et seq., California
 2                Unfair Competition Law, Cal. Bus. & Prof. Code §§17200 et seq., or parallel
 3                state or local laws, except that Participating Class Members who are not
 4                Participating Collective Members will not release ADEA claims, since they
 5                have not opted into the ADEA Collective (the “Released Claims”). The
 6                Released Claims further include: (i) claims for disparate treatment and pattern
 7                or practice discrimination based on age with respect to hiring; and (ii) claims
 8                for disparate impact discrimination based on age with respect to hiring.
 9          11.2 Time limitation. Except as provided by the Reserve Claims process set forth
10                in section 9, nothing in this Agreement shall be construed to bar any claims
11                of the Participating Class and Participating Collective Members based on or
12                arising out of events occurring after Preliminary Approval or March 17, 2022
13                (whichever is earlier).
14          11.3 Named Plaintiffs. Upon Finality, and except as to such rights or claims as
15                may be created by this Agreement, each Named Plaintiff shall execute the
16                General Release against the Released Parties that is attached as Exhibit 3 to
17                this Agreement.
18    12.   RESTRICTIONS ON PUBLICITY
19          12.1 Before Preliminary Approval. Lazy Dog, Class Counsel and Covered
20                Individuals shall maintain the confidentiality of the existence and terms of the
21                Settlement, the Memorandum of Understanding, and this Settlement
22                Agreement until the time of filing for preliminary settlement approval, except
23                for disclosure to (a) insurance carriers; (b) board, executive leadership teams,
24                partners, principals and employees on a need-to- know basis, provided they
25                agree to treat the information as confidential; (c) in response to inquiries from
26                regulators, or (d) as required by law.
27    ///
28    ///

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 1    13.   LAZY DOG’S RIGHT TO WITHDRAW OR MODIFY AGREEMENT
 2          13.1 Void option. If ten percent (10%) or more of the Settlement Collective or ten
 3                percent (10%) or more of the California Class validly opt out of the
 4                Settlement, Lazy Dog shall have the absolute right, in its sole discretion and
 5                notwithstanding any other provisions of this Agreement, but subject to all the
 6                provisions and time limits of this Section, either (i) to withdraw in writing
 7                from and rescind this Agreement in which case all actions taken in its
 8                furtherance shall be null and void for all purposes and may not be used or
 9                introduced in further litigation except to determine whether Lazy Dog is
10                entitled to withdraw from the Agreement and has validly done so, or (ii) to
11                modify this Agreement through further negotiations with Class Counsel. Lazy
12                Dog must exercise this right within ten (10) business days after the Settlement
13                Administrator sends the final list of all Opt-Out Statements to Class Counsel
14                and Defendant’s Counsel by email pursuant to § 8.3.2.
15    14.   INTERPRETATION AND ENFORCEMENT OF AGREEMENT
16          14.1 Entire Agreement.        This Agreement constitutes the entire agreement
17                between the Parties with regard to the subject matter contained herein, and all
18                prior and contemporaneous negotiations and understandings between the
19                Parties shall be deemed merged into this Agreement.
20          14.2 Binding Effect. Upon execution of this Agreement by the Parties and their
21                counsel, this Agreement shall be binding upon the Parties unless the Court
22                fails to approve the Agreement as set forth herein.
23          14.3 Notices to Counsel. All notices to counsel required or desired to be given
24                under this Agreement shall be in writing and by overnight mail and e-mail to
25                lead counsel for the respective Parties. Specifically, such notices shall be
26                mailed to Jeffrey L. Hogue and Tyler J. Belong at the Hogue & Belong law
27                firm for Plaintiffs and Mia Farber and Buck Haddix for Jackson Lewis P.C.
28

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 1                on behalf of Lazy Dog, their respective addresses set forth below (or to such
 2                other address as any such party of counsel may designate in a notice):
 3           Jeffrey L. Hogue                          Mia Farber
             Tyler J. Belong                           Buck Haddix
 4
             HOGUE & BELONG                            JACKSON LEWIS P.C.
 5           170 Laurel Street                         725 S. Figueroa Street, Suite 2500
             San Diego, California 92101               Los Angeles, California 90017
 6
             Jhogue@hoguebelonglaw.com                 Mia.Farber@jacksonlewis.com
 7           Tbelong@hoguebelonglaw.com                Buck.Haddix@jacksonlewis.com
 8
 9          14.4 Arm’s-Length Transaction; Materiality of Terms.               The Parties have
10                negotiated all the terms and conditions of this Agreement at arm’s length. All
11                terms and conditions of this Agreement in the exact form set forth in this
12                Agreement are material to this Agreement and have been relied upon by the
13                Parties in entering into this Agreement.
14          14.5 Construction.      The determination of the terms and conditions of this
15                Agreement has been by mutual agreement of the Parties.              Each Party
16                participated jointly in the drafting of this Agreement, and therefore the terms
17                and conditions of this Agreement are not intended to be, and shall not be,
18                construed against any Party by virtue of draftsmanship.
19          14.6 Governing Law.          This Agreement shall in all respects be interpreted,
20                enforced, and governed by and under the laws of the State of California,
21                without regard to its choice of law principles, except to the extent that the law
22                of the United States governs any matter set forth herein, in which case such
23                federal law shall govern.
24          14.7 Continuing Jurisdiction.        The Court shall retain jurisdiction over the
25                interpretation and implementation of this Agreement as well as any and all
26                matters arising out of, or related to, the interpretation or implementation of
27                this Agreement and of the Settlement contemplated thereby for three (3) years
28                following Finality.

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 1          14.8 Waivers, etc. to Be in Writing. No waiver, modification, or amendment of
 2                the terms of this Agreement, whether purportedly made before or after the
 3                Court’s approval of this Agreement, shall be valid or binding unless in writing,
 4                signed by, or on behalf of all Parties and then only to the extent set forth in
 5                such written waiver, modification, or amendment, subject to any required
 6                Court approval. Any failure by any Party to insist upon the strict performance
 7                by the other Party of any of the provisions of this Agreement shall not be
 8                deemed a waiver of future performance of the same provisions or of any of
 9                the other provisions of this Agreement, and such Party, notwithstanding such
10                failure, shall have the right thereafter to insist upon the specific performance
11                of any and all of the provisions of this Agreement.
12          14.9 Counterparts. The Parties may execute this Agreement in counterparts, and
13                execution in counterparts shall have the same force and effect as if Plaintiffs
14                and Lazy Dog had signed the same instrument. The failure of one or more
15                Plaintiffs to sign this Agreement does not affect its enforceability, except as
16                otherwise set forth herein.
17          14.10 Facsimile/Electronic Signatures. Any Party may execute this Agreement by
18                causing her or its counsel to sign on the designated signature block below and
19                transmitting that signature page via facsimile or email to counsel for the other
20                Party. Any signature made and transmitted by facsimile or email for the
21                purpose of executing this Agreement shall be deemed an original signature for
22                purposes of this Agreement and shall be binding upon the Party whose counsel
23                transmits the signature page by facsimile or email.
24    15.   DUTIES OF THE PARTIES FOLLOWING COURT APPROVAL
25          15.1 Final Order and Judgment. In connection with the Final Approval by the
26                Court of this Agreement, Class Counsel and Counsel for Defendant shall
27                submit a proposed final order and judgment:
28

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 1                (a)     Granting Final Approval to the Agreement, adjudging the terms
 2                        thereof to be fair, reasonable and adequate and directing
 3                        consummation of its terms and provisions;
 4                (b)     Granting final certification of the California Class;
 5                (c)     Granting final certification for settlement purposes of the
 6                        Settlement Collective;
 7                (d)     Dismissing the claims of the Settlement Collective members and
 8                        the California Class members with prejudice and permanently
 9                        barring all Participating Class and Participating Collective
10                        Members, including the Class Representatives, from prosecuting
11                        against any Released Parties any of the Released Claims;
12                (e)     Granting approval of the Reserve Claims process as the sole
13                        remedy for Reserve Claims; and
14                (f)     All materials, including data, provided by the Parties, their
15                        counsel and/or their experts, to the other Party, its counsel and/or
16                        its experts, shall be returned to the other Party’s counsel or
17                        destroyed, within one-hundred eighty (180) calendar days after
18                        Finality, with the exception that the Parties may retain copies of
19                        their and their own experts’ work product; copies of all filed
20                        documents (whether or not filed under seal or submitted to the
21                        court without being officially filed); and any materials necessary
22                        to oversee compliance with this Agreement.
23
24                      [SIGNATURES APPEAR ON FOLLOWING PAGE]
25
26
27
28

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 1          The undersigned each hereby agree and consent to be bound by all of the forgoing
 2    terms of this Agreement.
 3    PLAINTIFFS:
 4    DATED: November _19_, 2021                       ___________________
                                                       Cathy Sypherd
 5
 6
 7
      DATED: November _18_, 2021
                                                      �-
                                                       ___________________
                                                       Kimberly Watt

 8    DATED: November _18_, 2021                       ___________________
                                                       Patricia Brummett
 9
10    DEFENDANT:
11    DATED: November _19_, 2021                LAZY DOG RESTAURANTS, LLC
12
13
                                                By:    ___________________
14
15                                                     Mariah Machnikowski, SPHR
                                                       Chief People Officer
16
17
            Approved as to form by:
18
19
      DATED: November _19_, 2021                       HOGUE & BELONG
20
21                                              By:    ___________________
                                                       Jeffrey L. Hogue
22                                                     Tyler J. Belong
23                                                     Attorneys for Plaintiffs

24
25    DATED: November _19_, 2021                       JACKSON LEWIS P.C.

26                                              By:   _____________________
27                                                    Mia Farber
                                                      Buck Haddix
28                                                    Attorneys for Defendant
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                          Exhibit “1”
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 Sypherd et al. v. Lazy Dog Restaurants, LLC, Case No. 5:20-CV-00921-FLA(KK)
       United States District Court for the Central District of California

                  Class and Collective Action Settlement Notice

 A federal court authorized this notice. This is not a solicitation from a lawyer.



  -
  Why am I receiving this? On [insert date of court order granting preliminary
  approval], the Court in this action granted preliminary approval of a proposed
  settlement as set forth in the Collective and Class Action Settlement Agreement
  and Release (“Settlement” or “Settlement Agreement”) concerning the lawsuit
  noted above (the “Lawsuit”). You are receiving this notice because (1) you
  previously submitted a Consent to Join form and/or (2) Lazy Dog Restaurants,
  LLC’s (“Lazy Dog”) records indicate that you are among the people eligible to
  participate in the Settlement process. This notice summarizes the terms of the
  Settlement.

  What is the Lawsuit about? The individuals who brought the Lawsuit, known
  as “the Plaintiffs,” allege that Lazy Dog discriminated against them and other
  job applicants aged 40 and older by not hiring them when they applied for any
  non-managerial front of the house positions, including hosts, servers,
  bartenders, bussers, runners and take-out (collectively, “Covered Positions”) at
  any of Lazy Dog’s locations during the Relevant Time Periods. The Relevant
  Time Period for the California Settlement Class is from December 4, 2015,
  through the earlier of either (a) March 17, 2022, or (b) the date of the Court’s
  Preliminary Approval of Settlement. The Relevant Time Period for the
  Settlement Collective is December 4, 2016, through the earlier of either (a)
  March 17, 2022, or (b) the date of the Court’s Preliminary Approval of
  Settlement. Lazy Dog denies the Plaintiffs’ claims and allegations.

  What is the Settlement Amount? The Plaintiffs and Lazy Dog (collectively,
  “the Parties”) have agreed to settle the Lawsuit for a total payment by Lazy
  Dog of $2,150,000.00.


 YOUR LEGAL RIGHTS ARE AFFECTED WHETHER YOU ACT OR DO NOT
          ACT. PLEASE READ THIS NOTICE CAREFULLY.




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                        Summary of Your Legal Rights and Options
  Submit a claim         Receive a settlement payment. To receive a payment as
                         part of the California Settlement Class and/or the
                         Settlement Collective, you must complete and submit the
                         form attached to this Notice (the “Claim Form”), as
                         explained below in section 8 no later than [insert 45 days
                         after mailing]. By submitting a Claim Form, you give up any
                         right to bring future claims against Lazy Dog based on
                         allegations that are resolved by this Settlement.
  Exclude yourself    Get no payment. Keep any rights to bring or join a case
  from the Settlement against Lazy Dog about the claims being resolved by this
                      Settlement. You will lose the ability to recover any monetary
                      payment under the Settlement.
  Object to the          Write to the Court explaining why you do not like the
  Settlement             Settlement, to help the Court decide whether to approve it.
                         The Court cannot order that you receive more money
                         from the Settlement even if it agrees with you. If you
                         decide to object the parties’ attorneys may, at their
                         election, take your deposition under penalty of perjury.
  Do nothing             Get no payment. If you do nothing, you will not get a
                         payment. However, you will still release your claims that are
                         covered by the Settlement and give up your right to assert
                         the claims being resolved by this Settlement.

  These rights and options—and the deadlines to exercise them—are explained in
  greater detail in this notice.

  The Court has not yet decided whether to issue final approval of the Settlement.
  Payments will be made only if the Court approves the Settlement and after
  appeals, if any, are resolved.




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                                Basic Information
 1. Why did I get this notice package?

        The purpose of this notice is to let you know that the Parties in the case have
 reached a Settlement, subject to the Court’s final approval in this class and
 collective action, pending in the United States District Court for the Central
 District of California (the “Lawsuit”). You have received this notice because:

       (i) You previously submitted a Consent to Join the Lawsuit form; and/or

       (ii) Lazy Dog’s records show that you applied – but were not hired – for a
       non-managerial front of the house positions, including hosts, servers,
       bartenders, bussers, runners and take-out (collectively, “Covered
       Positions”) at any of Lazy Dog’s locations in California from December 4,
       2015 through March 17, 2022, and it appears that you were age 40 or older
       at the time you applied; and/or

       (iii) Lazy Dog’s records indicate that you applied – but were not hired – for
       a Covered Position at any of Lazy Dog’s locations in the United States from
       December 4, 2016 through March 17, 2022, and it appears that you were age
       40 or older at the time you applied.

 The Court authorized this notice because you have a right to know about the
 proposed Settlement of the Lawsuit, and about your options. If the Court orders
 final approval of the Settlement and after any objections and appeals are resolved,
 a third-party administrator appointed by the Court will make the payments to
 claimants per the terms of the Settlement.

 2. What is this lawsuit about?

        Plaintiffs allege that Lazy Dog discriminated against them and other
 applicants aged 40 and older on the basis of age when they applied for Covered
 Positions. The Lawsuit asked the Court to require Lazy Dog to pay damages,
 penalties, and other compensation.

       Lazy Dog denies these allegations and asserts that its hiring policies are
 lawful, merit-based, and have nothing to do with age.

       The Court has made no determination regarding the merits of the claims.


                                           4
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 3. Why is this a class and collective action?

       In a class or collective action, one or more people, called “Class
 Representatives” (in this case, Cathy Sypherd, Patricia Brummett, and Kimberly
 Watt) sue on behalf of people who they believe have similar claims. In a class
 action, all people with similar class claims are called “class members.” Class
 members do not need to do anything to be part of a class action. Once the Court
 decides a case can proceed as a class action (as the Court here has done for
 purposes of this Settlement), all class members are included in the class by default,
 however individuals may elect to exclude themselves from the settlement
 (excluding is described in sections 13-15, below). In a class action, the court
 resolves the issues for all class members together in one legal proceeding. Class
 Members for purposes of this Settlement is defined in section 5, below.

       Collective actions are similar to class actions. Some cases, like this one, have
 a class action component and a collective action component. Here, the federal Age
 Discrimination in Employment Act claim is brought as a collective action. To
 become a “Collective Member” you must opt into the action by submitting a Claim
 Form on or before __________2022.


                   The Settlement Benefits—What You Get
 4. What does the Settlement provide?

         Monetary relief. Lazy Dog has agreed to pay $2,150,000.00 (Gross Fund)
 to cover the claims of Class Members and Collective Members, Claims
 Administration Fees, Class Counsel’s Attorney’s Fees and Costs and the Class
 Representatives’ Service Award. Each Class and/or Collective Member who timely
 files a Claim Form and does not exclude himself or herself (collectively referred to
 as “Claimants”), will receive a share of the $2,150,000.00 amount.

       Claimants will receive money from the Settlement fund based on the
 following calculations:

        Net Settlement Amount Calculation. The Gross Fund of $2,150,000 will
 be used in part to pay or reimburse costs and fees including: third party
 administrator fees, litigation expenses, attorneys’ fees, etc. The “Net Settlement
 Amount” is the amount remaining after deduction from the Gross Fund for
 Plaintiffs’ Service Payments, Class Counsel’s attorneys’ fees and litigation
 expenses, and the Settlement Administrator’s fees.
                                           5
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       California Settlement Class Payment Calculation. The California
 Settlement Class will receive a “California Class Payment,” which shall be the Net
 Settlement Amount multiplied by the percentage of the total number of California
 Class Members (numerator) as compared to the total number of Settlement
 Collective Members (denominator). Each California Settlement Class Member
 who timely submits a valid Claim Form and does not timely exclude
 himself/herself, will receive a pro rata share of this California Class Payment.

       Settlement Collective Payment Calculation. The “Settlement Collective
 Amount” shall be the Net Settlement Amount less the California Class Payment.
 Each Settlement Collective Member who timely submits a valid Claim Form will
 receive a pro rata share of this Settlement Collective Amount.

        Tax treatment of awards. The Settlement Agreement allocates how
 payments made to you under this Settlement should be treated for tax purposes.
 Accordingly, payments to Claimants are allocated for tax purposes as follows:
 thirty percent (30%) of all payments to Claimants will be allocated as wages, and
 normal payroll taxes and withholdings will be deducted from this portion of these
 monetary payments pursuant to applicable law. This portion of monetary payments
 will be reported on an IRS Form W-2. The remaining seventy percent (70%) will
 be allocated as liquidated damages and/or emotional distress, and interest and will
 be reported on an IRS form 1099. You will be responsible for correctly reporting
 this for tax purposes and for paying any taxes on the amounts received. You will
 be responsible for the tax obligations and consequences of all payments received
 from the Settlement. Lazy Dog, Defendant’s Counsel, and Class Counsel are not
 providing tax advice to you, and they make no representations regarding the tax
 characterization of any Settlement payments or any tax obligations of, or tax
 consequences to, any Claimant.

        Reserve Fund. A “Reserve Fund” of Fifty-Five Thousand Dollars
 ($55,000.00) will be set aside from the Gross Settlement Amount to pay any post-
 Finality “Reserve Claims” during the 15-month “Reserve Period.” Any Claimant
 who both (a) seeks employment with Lazy Dog in a Covered Position and (b) is
 not hired into such position during the Reserve Period will be allowed to submit a
 claim within the two months after the Reserve Period as the sole remedy for any
 alleged age discrimination claim against Lazy Dog that relates to their application.




                                           6
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       Each meritorious claim will be paid on a pro rata basis based on the same
 formula set forth above except that no Reserve Fund Payment shall exceed the
 individual monetary award paid to each California Class Member.

        Any part of the Reserve Fund that remains unclaimed will be redistributed to
 the Claimants who received money from the initial settlement distribution (as
 opposed to the Reserve Petitioners) as follows: if there are fees incurred in
 Settlement Administration above those initially awarded by the Court that the
 Court orders to be paid from the Total Residue, those will be paid or held aside for
 future payment to the Settlement Administrator. The remaining amount will be the
 “Redistribution Fund.” Then, (1) if the Redistribution Fund is greater than
 $30,000.00, it will be redistributed to the Claimants on a pro rata basis, except that
 no Claimant will receive less than $10.00 through this redistribution (anyone
 whose redistribution payment would equal less than $10.00 shall receive no
 redistribution payment, and their share of the Redistribution Fund shall be
 allocated to the other Claimants); (2) if the Redistribution Fund is less than or
 equal to $30,000, the Redistribution Fund will be given as a cy pres donation to the
 California State Bar’s Justice Gap Fund. No amount shall revert to Lazy Dog.


                          How You Get a Payment
 5     Q: How can I get a payment? A: Submit your Claim Form.
 .
        To receive money from the California Settlement Class, if you are


               r-- -■
 eligible, and/or the Settlement Collective, you must submit a completed Claim

                   ■
 Form (attached hereto as Exhibit __) either (a) electronically to [email address], or
 (b) by mail to [mailing address]. When filing a Claim Form, please use the
 Claimant ID: [__] and Verification Number: [__]. If you do not sign and submit a
 fully completed Claim Form by [deadline], you may not receive any money from
 the California Settlement Class or the Settlement Collective. In order to be deemed
 “complete,” your Claim Form must include answers to all sections. You must
 include your Social Security number (for tax reporting purposes) and also sign the
 certification at the end of the Claim Form.


                                                                     -
 To be valid, Claim Forms must be postmarked or emailed by [deadline].




                                           7
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                               Release Agreement
 6. What am I giving up to get a payment?

        Release. Unless you timely exclude yourself from the Settlement, you are
 staying in the California Settlement Class and/or Settlement Collective, and that
 means that you cannot sue, continue to sue, or be part of any other lawsuit against
 Lazy Dog about the legal issues resolved by this Settlement. It also means that all
 of the Court’s orders will apply to you and legally bind you. If you do not exclude
 yourself, you are knowingly and voluntarily releasing and waiving the
 following claims against Lazy Dog: any claims against Lazy Dog (and the
 Released Parties as defined in the Settlement Agreement) up until March 17, 2022,
 including but not limited to all known and unknown claims, promises, causes of
 action, or similar rights of any kind that they presently have or may have for
 discrimination because of age arising out of or relating in any way to any of the
 legal, factual, or other allegations made in the Litigation, or any legal theories that
 could have been raised based on the allegations in the First Amended Complaint,
 including, without limitation, claims under the Age Discrimination in Employment
 Act of 1967 (“ADEA”) (except that Claimants who are California Settlement Class
 Members but not Settlement Collective Members and who do not submit Claim
 Forms will not release their federal ADEA claims), the California Fair
 Employment and Housing Act, Cal. Gov. Code §§12900 et seq, California Unfair
 Competition Law, Cal. Bus. & Prof. Code §§17200 et seq., and parallel state or
 local laws. In addition, if you submit the Claim Form, you are bound by the
 Reserve Fund process set forth below and in section 10 of the Settlement
 Agreement for certain claims that may arise in the future.


                         The Lawyers Representing You
 7. Do I have a lawyer in this case?

       The Court preliminarily appointed the following attorneys to represent you
 and the other Settlement Class and/or Settlement Collective Members: Jeffrey L.
 Hogue, Esq. and Tyler J. Belong, Esq. of Hogue & Belong, APC. These lawyers

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 are called Class Counsel or Plaintiffs’ Counsel. You will not be personally
 charged for these lawyers’ work in securing the Settlement benefits for you
 and the other California Settlement Class and/or Settlement Collective
 Members. If you want to be represented by your own lawyer, you may hire one at
 your own expense.

 8. How will Class Counsel, Class Representatives, and Declarants be paid?

        Class Counsel will ask the Court for attorneys’ fees of up to thirty percent of
 the $2,150,000 Settlement fund and reimbursement of out-of-pocket costs of up to
 $175,000, consistent with the terms of the Settlement Agreement. In addition,
 Class Counsel will apply to the Court for a service award of up to $10,000 each for
 the three Class Representatives Cathy Sypherd, Patricia Brummett, and Kimberly
 Watt (for a total of $30,000). These service awards are being requested in
 recognition of the time and effort incurred by the three Class Representatives in
 securing the benefits of this Settlement for you and the other California Settlement
 Class and/or Settlement Collective Members. The Court will decide whether to
 approve Class Counsel’s, and the Class Representatives’ requests.

                Excluding Myself or Objecting to the Settlement
 9. How do I exclude myself from the Settlement?

         To exclude yourself from (opt out of) the Settlement and not release any
 claims, you must send a letter saying that you want to be excluded from the
 Settlement, and that you understand that you will not receive money from it. You
 must include your (1) name, (2) address, (3) telephone number, (4) signature and
 the following statement: “I decline to provide a release of claims and instead elect
 to exclude myself from the monetary relief provisions in the Settlement in Sypherd
 et al. v. Lazy Dog Restaurants, LLC. That means I will not be entitled to any of the
 monetary proceeds of the Settlement.”


                                                                  -
        Your opt-out request must be emailed or postmarked by [insert date]. Opt-
 out requests should be sent electronically or by mail to the Settlement
 Administrator, whose contact information is listed in section 16.

        If you ask to be excluded, you will not get any Settlement payment, and
 you cannot object to the Settlement. You will not be legally bound by anything that
 happens in this lawsuit, and the Settlement would not affect any right you might
 have, if any, to pursue legal action against Lazy Dog on your own.

                                           9
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 10. How do I object to the Settlement?

        If you are a California Settlement Class or Settlement Collective Member,
 you can object to the Settlement. But, if you do not want to be a part of the
 settlement, you can instead exclude yourself as described above.

        The Court cannot order a larger (or smaller, or otherwise different)
 settlement; it can only approve or deny the Settlement. If the Court denies
 approval, there will be no settlement at this time, no Settlement payments will be
 sent out, and the Lawsuit will continue.

        Any objection to the proposed Settlement must be signed and in writing.
 Your statement must contain your name, address, and telephone number to be
 valid. It must also contain the words “I object to the proposed settlement in
 Sypherd et al. v. Lazy Dog Restaurants, LLC, and understand that as a result of this
 objection, I am agreeing to submit to certain court proceedings, including having
 my deposition taken,” and state the legal and factual basis for the objection. If you
 object, either party may demand that you produce records and appear for a
 deposition in this action. If you do not follow these instructions to make an
 objection, you will waive any objections and will be foreclosed from making any
 objection (whether by appeal or otherwise) to the Settlement. If you file a timely
 written objection, you may, but are not required to, appear at the Final Approval
 Hearing, either in person or through your own attorney. If you appear through your
 own attorney, you are responsible for hiring and paying that attorney. All written
 comments and objections and supporting papers must (a) clearly identify the case
 name and number (as Sypherd et al. v. Lazy Dog Restaurants, LLC, Case No. 5:20-
 CV-00921-FLA(KK), (b) be submitted to the Claims Administrator, and (c) be
 postmarked on or before [insert deadline].

 11. What’s the difference between objecting and excluding?

        Objecting is telling the Court that you do not like something about the
 Settlement and explaining the reasons why, in which case the parties’ attorneys
 may request that you appear for a deposition so that they can question you about
 the stated reasons for your objection. Excluding yourself is telling the Court that
 you do not want to be part of the Class and instead preserve your right to assert
 these claims in another lawsuit. If you exclude yourself, you have no basis to
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 object because you are out of the California Settlement Class or Settlement
 Collective, so the case no longer affects you.

                       The Court’s Final Approval Hearing
       The Court will hold a final approval hearing to decide whether to approve
 the Settlement, but you do not have to attend the hearing. If you decide to
 attend, you you may ask to speak, but you do not have to. The judge will decide
 whether or for how long to allow you to speak.

 12. When and where will the Court decide whether to approve the Settlement?

        The Court will hold a final approval hearing at [insert time and date], at the
 United States District Court for the Central District of California, First Street
 Courthouse, 350 W. 1st Street, Courtroom 6B, 6th Floor, Los Angeles, California
 90012. At this hearing, the Court will consider whether the Settlement is fair,
 reasonable, and adequate. If there are objections, the Court will consider them.
 After the hearing, the Court will decide whether to approve the Settlement. The
 final approval hearing may be postponed without further notice to the California
 Settlement Class or Settlement Collective. If you plan to attend the hearing, you
 should check the Court’s PACER site at https://ecf.cand.uscourts.gov to confirm
 that the date has not been changed.


                              If You Do Nothing
 13. What happens if I do nothing at all?

        If you do nothing, you’ll get no money from this Settlement. To be eligible
 to receive money from this Settlement, you must timely submit a completed Claim
 Form. If you do nothing, you won’t be able to start any separate lawsuit, continue
 with a lawsuit, or be part of any other lawsuit against Lazy Dog for the claims you
 are releasing in this Settlement. Doing nothing will not affect your right to assert
 claims against Lazy Dog arising after March 17, 2022.
 Getting More Information
 14. How Do I Get More Information about the Settlement?

     The Collective and Class Action Settlement and Release, First Amended
 Complaint, and this Notice are all available at https://pacer.uscourts.gov.

      You may also obtain more information by contacting the Settlement
 Administrator at [insert phone number], Class Counsel at Hogue & Belong, APC at
                                           11
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 (619) 238-4720, by accessing the Court docket in this case through the Court’s
 Public Access to Court Electronic Records (PACER) system at
 https://ecf.cand.uscourts.gov, or by visiting the office of the Clerk of the Court for
 the United States District Court for the Central District of California, First Street
 Courthouse, 350 W. 1st Street, Courtroom 6B, 6th Floor, Los Angeles, California
 90012, between 9:00 a.m. and 4:00 p.m., Monday through Friday, excluding Court
 holidays.

 PLEASE DO NOT TELEPHONE THE COURT OR THE COURT CLERK’S
 OFFICE TO INQUIRE ABOUT THIS SETTLEMENT OR THE CLAIM
 PROCESS.

       By order of the United States District Court for the Central District of
 California.


         -
 Dated: [DATE]




                                           12
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                          Exhibit “2”
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                                   #:8933

  Sypherd et al. v. Lazy Dog Restaurants, LLC, Case No. 5:20-CV-00921-FLA(KK)
        United States District Court for the Central District of California

                                      Claim Form

                                      Instructions

1. The purpose of this Claim Form is to allow payment of settlement funds to you.
To received money from this settlement you must sign and submit this Claim Form
either (a) electronically to [email address], or (b) via mail to [mailing address]. To be


-
valid, signed and completed Claim Forms must be emailed or postmarked by

                                                                            -
[deadline]. If you do not sign and submit a completed Claim Form by [deadline],
you will receive no money from this Settlement.

2. The Claim Form is confidential. All information you provide on this Claim Form
will be kept confidential to the greatest extent possible. Unless otherwise ordered by
the Court, it will only be viewed by: (a) the Court-appointed Settlement Administrator,
(b) Class Counsel, (c) Lazy Dog and its Counsel, and (d) the Court (if requested and
subject to appropriate confidentiality protections). However, if in the future you
attempt to assert claims against Lazy Dog and it contends you are not allowed to bring
those claims pursuant to the terms of the Settlement, Lazy Dog may use your Claim
Form and participation in the Settlement to respond to those claims.

3. Qualification for Submitting this Claim Form. In order to receive payment from
this settlement, you must have been age 40 or older at the time you applied for
employment at Lazy Dog, and you must submit this Claim Form. If you applied for
employment at Lazy Dog on multiple occasions, as long as you were age 40 or older
on at least one of those occasions, you qualify for payment from this settlement and
should submit this Claim Form. However, if you never applied for employment at
Lazy Dog at a time when you were age 40 or older, do not submit this Claim Form.

4. Completeness. To receive money from this settlement, you must fully complete this
Claim Form and all its components, including all sections including signing the
certification at the end. If your Claim Form is missing information or incomplete in
any way, or is not timely submitted, you will not receive money from this Settlement.

            Information Required For Class and Collective Settlement

                                 Personal Information
 1. Name                                   [Pre-Populated by CPT]
 3. Social Security Number (required
 for identification and tax purposes)
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                       Certification of Age at Time of Application

      By signing and submitting this Claim Form below, I certify that at the time I
applied for a position of employment at Lazy Dog, I was 40 years old or older.

            Consent Required for Participation in Collective Settlement

       By my signature below, I consent to join, opt-in, and become a party to the
collective action Cathy Sypherd, et al., v. Lazy Dog Restaurants, LLC, Case No. 5:20-
cv-00921-FLA-KK in the United States District Court for the Central District of
California, which alleges claims under The Age Discrimination in Employment Act of
1967 (“ADEA”). I understand and agree that by joining in this action, I will be bound
by any adjudication of the Court in this action.
       I declare under penalty of perjury that the foregoing is true and correct to the
best of my knowledge and belief, and if called upon to testify under oath, I would
testify that the information I have provided is true and correct.
     Signature

     Date signed




                         Address Update/Correction (Optional)
      If you have moved or plan on moving after the date that you receive(d) the
Claim Form, please provide your most current address so that we can better ensure that
any payment to which you are entitled is timely issued to you.
     Updated
     Address

     (if applicable)


                                 - End of Claim Form -
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                                   #:8935




                          Exhibit “3”
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                                        #:8936


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14
15                               UNITED STATES DISTRICT COURT
16                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
17
18    CATHY SYPHERD, individually,                 CASE NO.: 5:20-CV-00921-FLA(KK)
      PATRICIA BRUMMETT, individually,
19    and KIMBERLY WATT, individually,             [Assigned to District Judge Fernando L.
      and on behalf of all others similarly        Aenlle-Rocha and Magistrate Judge Kenly
20    situated,                                    Kiya Kato]
21                 Plaintiffs,                     PLAINTIFFS’ INDIVIDUAL
                                                   SETTLEMENT AGREEMENT AND
22          vs.
                                                   GENERAL RELEASE
23    LAZY DOG RESTAURANTS, LLC, a
      California Corporation; and DOES 1-50,       Complaint Filed: May 1, 2020
24                                                 FAC Filed:       June 15, 2020
                   Defendants.
25
26
27
28

       Case No.: 5:20-CV-00921-FLA(KK)         1      PLAINTIFFS’ INDIVIDUAL SETTLEMENT
                                                       AGREEMENT AND GENERAL RELEASE
     Case 5:20-cv-00921-FLA-KK Document 212-1 Filed 11/19/21 Page 72 of 116 Page ID
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 1          Subject to approval by the United States District Court for the Central District of
 2    California, this Individual Settlement Agreement and General Release of All Claims
 3    (“General Release”) is entered into by and between Cathy Sypherd, Patricia Brummett and
 4    Kimberly Watt (collectively, “Named Plaintiffs”) and Lazy Dog Restaurants, LLC
 5    (“Defendant” or “Lazy Dog”). The term “Party” or “Parties” as used herein shall refer to
 6    Plaintiffs, Defendant or both, as may be appropriate.
 7          1.     Recitals.    This General Release is made with reference to the following
 8    facts alleged in the operative Complaint:
 9                 (a)    Named Plaintiffs applied for and but were not hired for front-of-the-
10    house positions at Lazy Dog’s restaurant in Corona, California.
11                 (b)    On June 15, 2020, Named Plaintiffs filed an amended collective and
12    class action Complaint, which is pending as Cathy Sypherd, Patricia Brummett and
13    Kimberly Watt vs. Lazy Dog Restaurants, LLC in the United States District Court for the
14    Central District of California, Case No. 5:20-CV-00921-FLA(KK) (the “Action”).
15                 (c)    In the amended collective and class action Complaint, Plaintiffs assert
16    claims for violations of the federal Age Discrimination in Employment Act of 1967, as
17    amended, 29 U.S.C. §§ 621, et seq. (“ADEA”), the California Fair Employment and
18    Housing Act, Cal. Gov. Code §§ 12900, et seq.(“FEHA”) and the California Unfair
19    Competition Law, Cal. Bus. & Prof. Code §§ 17200, et seq. (“UCL”), including both
20    intentional discrimination and disparate impact theories, for alleged failure or refusal to
21    hire qualified workers over 40 years old and older.
22                 (d)    The parties entered into a separate Collective and Class Action
23    Settlement Agreement and Release to fully, finally and forever settle, compromise and
24    discharge all disputes and claims arising from or related to the Action which exist between
25    Named Plaintiffs, putative class members, and the parties released therein. Pursuant to the
26    terms of the Collective and Class Action Settlement Agreement and Release (the “Class
27    and Collective Settlement Agreement”), Named Plaintiffs agreed to sign a General Release
28    in exchange for Service Awards.

       Case No.: 5:20-CV-00921-FLA(KK)            2     PLAINTIFFS’ INDIVIDUAL SETTLEMENT
                                                         AGREEMENT AND GENERAL RELEASE
     Case 5:20-cv-00921-FLA-KK Document 212-1 Filed 11/19/21 Page 73 of 116 Page ID
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 1                  (e)   There has been no determination on the merits of the Action but, in
 2    order to avoid additional cost and the uncertainty of litigation, the Named Plaintiffs and
 3    Defendant have agreed, subject to the provisions in Paragraphs 3 and 4 below, to resolve
 4    any and all claims, known and unknown, asserted and unasserted, which the Named
 5    Plaintiffs in their individual capacity have or may have against Defendant, and its direct
 6    and indirect parent corporations, affiliates, subsidiaries, divisions, predecessors, insurers,
 7    reinsurers, representatives, professional employment organizations, successors and
 8    assigns, and their current and former employees, attorneys, officers, directors and agents
 9    thereof, both individually and in their business capacities, and their employee benefit plans
10    and programs and their administrators and fiduciaries, both individually and in their
11    business capacities (collectively referred to as the “Released Parties”) as of the date of
12    execution of this General Release.
13          2.      No Admission of Wrongdoing. The Parties agree that neither this General
14    Release nor the furnishing of the consideration for this General Release shall be deemed or
15    construed at any time for any purpose as an admission by Defendant and the Released
16    Parties of wrongdoing or evidence of any liability or unlawful conduct of any kind.
17          3.      Consideration, General Release, Claims Not Released and Related
18    Provisions.
19                  (a)   General Release of Claims. Named Plaintiffs expressly agree that
20    they have received full and fair consideration for the promises made in this release, and
21    acknowledge that the consideration given for this release is in addition to anything of value
22    to which they are already entitled in the Collective and Class Action Settlement Agreement
23    and Release, including the Service Awards to Plaintiffs. Named Plaintiffs individually and
24    on behalf of their heirs, executors, administrators, representatives, attorneys, successors,
25    and assigns knowingly and voluntarily release and forever discharge Defendant and the
26    Released Parties, to the full extent permitted by law, of and from any and all claims, known
27    and unknown, asserted and unasserted, which Named Plaintiffs have or may have against
28

       Case No.: 5:20-CV-00921-FLA(KK)              3     PLAINTIFFS’ INDIVIDUAL SETTLEMENT
                                                           AGREEMENT AND GENERAL RELEASE
     Case 5:20-cv-00921-FLA-KK Document 212-1 Filed 11/19/21 Page 74 of 116 Page ID
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 1    Defendant and the Released Parties as of the date of execution of this General Release
 2    including, but not limited to, any alleged violation of:
 3              Title VII of the Civil Rights Act of 1964;
 4              The Civil Rights Act of 1991;
 5              Sections 1981 through 1988 of Title 42 of the United States Code, as amended;
 6              The Employee Retirement Income Security Act of 1974 (“ERISA”);
 7              The Internal Revenue Code of 1986;
 8              The Immigration Reform and Control Act;
 9              The Americans with Disabilities Act of 1990;
10              The Age Discrimination in Employment Act of 1967 (“ADEA”);
11              The Older Workers Benefit Protection Act of 1990;
12              The Workers Adjustment and Retraining Notification Act;
13              The Fair Credit Reporting Act;
14              The Family and Medical Leave Act;
15              The Equal Pay Act;
16              The Genetic Information Nondiscrimination Act of 2008;
17              The Sarbanes-Oxley Act of 2002;
18              California Family Rights Act – Cal. Gov’t Code § 12945.2;
19              California Fair Employment and Housing Act – Cal. Gov’t Code § 12900 et seq.;
20              California Unruh Civil Rights Act – Cal. Civ. Code § 51 et seq.;
21              Statutory Provisions Regarding the Confidentiality of AIDS Information – Cal.
22    Health Safety Code § 120775 et seq.;
23              California Confidentiality of Medical Information Act – Cal. Civ. Code § 56 et
24    seq.;
25              California Parental Leave Law – Cal. Lab. Code § 230.7 et seq.;
26              California Equal Pay Law – Cal. Lab. Code § 1197.5;
27              The Occupational Safety and Health Act;
28

       Case No.: 5:20-CV-00921-FLA(KK)              4     PLAINTIFFS’ INDIVIDUAL SETTLEMENT
                                                           AGREEMENT AND GENERAL RELEASE
     Case 5:20-cv-00921-FLA-KK Document 212-1 Filed 11/19/21 Page 75 of 116 Page ID
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 1               The California Occupational Safety and Health Act, as amended, and any
 2    applicable regulations thereunder;
 3               The California Consumer Credit Reporting Agencies Act – Cal. Civ. Code § 1785
 4    et seq.;
 5               California Investigative Consumer Reporting Agencies Act – Cal. Civ. Code §
 6    1786 et seq.;
 7               Those provisions of the California Labor Code that lawfully may be released;
 8               Any other federal, state or local civil or human rights law or any other federal,
 9    state or local law, regulation or ordinance;
10               Any public policy, contract, tort or common law; or
11               Any basis for recovering costs, fees or other expenses including attorneys’ fees
12    incurred in these matters.
13                    (b)   Claims Not Released. Named Plaintiffs are not waiving any rights
14    they may have to: (i) pursue claims which by law cannot be waived by signing this General
15    Release; (ii) enforce this General Release; or (iii) challenge the validity of this General
16    Release.
17                    (c)   Governmental Agencies. Nothing in this General Release prohibits,
18    prevents, or otherwise limits Named Plaintiffs from filing a charge or complaint with or
19    participating, testifying, or assisting in any investigation, hearing, action, or other
20    proceeding before any federal, state, or local government agency (e.g., EEOC, NLRB,
21    SEC, DFEH, DLSE, etc.) or in any legislative or judicial proceeding, nor does anything in
22    this General Release preclude, prohibit, or otherwise limit, in any way, Named Plaintiffs’
23    rights and abilities to contact, communicate with, or report unlawful conduct to federal,
24    state, or local officials for investigation, or otherwise participate in any whistleblower
25    program administered by any such agencies. However, to the maximum extent permitted
26    by law, Named Plaintiffs agree that if such an administrative claim is made, they shall not
27    be entitled to recover any individual monetary relief or other individual remedies.
28

       Case No.: 5:20-CV-00921-FLA(KK)               5   PLAINTIFFS’ INDIVIDUAL SETTLEMENT
                                                          AGREEMENT AND GENERAL RELEASE
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 1                 (d)    Collective/Class Action Waiver. If any claim is not subject to release,
 2    to the extent permitted by law, Named Plaintiffs waive any right or ability to be a class or
 3    collective action representative or to otherwise participate in any putative or certified class,
 4    collective, or multi-party action or proceeding based on such a claim in which Defendant,
 5    or any of the other Released Party is a party.
 6                 (e)    Consideration for General Release. In consideration for the general
 7    release, Named Plaintiffs shall be entitled to receive the Service Award of $10,000.00 each
 8    (i.e., total aggregate of $30,000.00), subject to the Court’s approval of such Service Award,
 9    in addition to any pro rata share of the California Fund or Collective Fund under the terms
10    of the Collective and Class Action Settlement. This General Release, including all of its
11    terms, is expressly conditioned on the Court granting final approval of the Collective and
12    Class Action Settlement and awarding Plaintiffs each the full Service Award referenced in
13    the Class and Collective Settlement Agreement. If the Court does not grant final approval
14    of the Class and Collective Settlement, including granting Plaintiffs’ requested Service
15    Award described above, this General Release and every term in it will be deemed null and
16    void.
17            4.   Waiver of California Civil Code section 1542. To effect a full and complete
18    general release as described above, Named Plaintiffs expressly waive and relinquish all
19    rights and benefits of section 1542 of the Civil Code of the State of California, and do so
20    understanding and acknowledging the significance and consequence of specifically
21    waiving section 1542. Section 1542 of the Civil Code of the State of California states as
22    follows:
23                 A general release does not extend to claims that the creditor
24                 or releasing party does not know or suspect to exist in his or
                   her favor at the time of executing the release and that, if
25                 known by him or her, would have materially affected his or
26                 her settlement with the debtor or released party.
27    Thus, notwithstanding the provisions of section 1542, and to implement a full and complete
28    release and discharge of Defendant and the Released Parties, Named Plaintiffs expressly

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 1    acknowledge this General Release is intended to include in its effect, without limitation,
 2    all claims Named Plaintiffs do not know or suspect to exist in Named Plaintiffs’ favor at
 3    the time of signing this General Release, and that this General Release contemplates the
 4    extinguishment of any such claims. Named Plaintiffs warrant they have read this General
 5    Release, including this waiver of California Civil Code section 1542, and that they have
 6    consulted with or had the opportunity to consult with counsel of their choosing about this
 7    General Release and specifically about the waiver of section 1542, and that they understand
 8    this General Release and the section 1542 waiver, and so they are freely and knowingly
 9    entering into this General Release. Named Plaintiffs further acknowledge that they later
10    may discover facts different from or in addition to those them now know or believe to be
11    true regarding the matters released or described in this General Release, and even so they
12    agree that the releases and agreements contained in this General Release shall remain
13    effective in all respects notwithstanding any later discovery of any different or additional
14    facts. Named Plaintiffs expressly assume any and all risk of any mistake in connection
15    with the true facts involved in the matters, disputes, or controversies released or described
16    in this General Release or with regard to any facts now unknown to them relating thereto.
17          5.     Acknowledgements and Affirmations.
18                 (a)    Named Plaintiffs affirm that they have not filed or caused to be filed
19    any claim, complaint, or action against Defendant or any of the Released Parties in any
20    forum or form, other than the Action and the complaints of discrimination with the Equal
21    Employment Opportunity Commission and Department of Fair Employment and Housing,
22    and that Plaintiffs presently are not a party to any claim, complaint, or action against
23    Defendant or any of the Released Parties in any forum or form, other than the Action.
24    Nothing in this General Release or the acknowledgements and affirmations in this Section
25    5 is intended to impair Named Plaintiffs’ rights under whistleblower laws or cause Named
26    Plaintiffs to disclose their participation in any governmental whistleblower program or any
27    whistleblowing statute(s) or regulation(s) allowing for anonymity.
28

       Case No.: 5:20-CV-00921-FLA(KK)             7     PLAINTIFFS’ INDIVIDUAL SETTLEMENT
                                                          AGREEMENT AND GENERAL RELEASE
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 1                 (b)    Named Plaintiffs also affirm that they have not reported internally to
 2    Defendant any allegations of wrongdoing by Defendant or its officers, including, any
 3    allegations of corporate fraud, and they have not been retaliated against for reporting any
 4    such allegations internally to Defendant, except as alleged in the Action and which claims
 5    are expressly released in Section three above.
 6          6.     No Transfer/Assignment of Claims.              Named Plaintiffs warrant and
 7    represent that they have not assigned or transferred or purported to assign or transfer to any
 8    person or entity all or any part of or any interest in any claim released under this General
 9    Release. Named Plaintiffs and Plaintiffs’ Counsel agree that they solely are responsible
10    for the satisfaction of any assignment or lien to any lien holder and will indemnify and hold
11    the Released Parties harmless against any liens, damages, penalties, fines, fees,
12    assessments, taxes or attorneys’ fees that may be imposed against or incurred by any of the
13    Released Parties as a result of the actions of any lien holder or any lien claimant or any
14    taxing authority or any court in relation to any interest which any third party may have in
15    any claim which Named Plaintiffs are releasing under this General Release or any interest
16    in any of the proceeds paid to Named Plaintiffs or Plaintiffs’ Counsel under this General
17    Release.
18          7.     Waiver of Employment. Named Plaintiffs acknowledge that because of
19    circumstances unique to them, inter alia, irreconcilable differences, they shall not apply in
20    the future for employment with Defendant or their present or future divisions, affiliated,
21    related, successor, parent or subsidiary companies. Named Plaintiffs further agree that
22    Defendant and their present or future divisions, affiliated, related, successor, parent or
23    subsidiary companies shall not be liable for any damages now or in the future because one
24    of them refuses to employ them for any reason whatsoever.
25          8.     Liens and Attorneys’ Fees/Indemnification.
26                 (a)    Except with respect to any attorney’s fees and costs finally approved
27    by the Court in connection with the Collective and Class Action Settlement Agreement
28    and Release, the conditions of which are set forth in said Agreement, Named Plaintiffs

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 1    acknowledge they are solely responsible for any liens made in connection with any
 2    services performed on their behalf by any attorney, consultants, expert witnesses or
 3    healthcare providers. Each Party solely is responsible for any fees and costs he, she or it
 4    has incurred including, but not limited to, fees for attorneys, consultants and expert
 5    witnesses. Named Plaintiffs acknowledge that Defendant and the Released Parties are
 6    not responsible for the payment of any fees incurred on behalf of Named Plaintiffs in
 7    connection with the prosecution of the Action.
 8                   (b)   Named Plaintiffs acknowledge and agree that they will indemnify
 9    Defendant and the Released Parties for any and all costs any of them incur as a result of
10    any claims made by any attorneys, consultants, expert witnesses, healthcare providers or
11    other third parties to recover monies from the amounts payable to Named Plaintiffs or
12    Plaintiffs’ Counsel under this General Release.
13          9.       Knowing Waiver of Age Discrimination Claims.             Named Plaintiffs
14    acknowledge that they already have attained the age of 40 and by entering into this
15    Agreement, they waive and release Defendant and the Released Parties from any claims
16    for age discrimination under the Age Discrimination in Employment Act and the California
17    Fair Employment and Housing Act. Named Plaintiffs also acknowledge that they have
18    been informed pursuant to the Federal Older Workers Benefit Protection Act of 1990 that:
19                   (a)   Named Plaintiffs have the right to consult with an attorney before
20                         signing this Agreement;
21                   (b)   Named Plaintiffs do not waive rights or claims under the federal Age
22    Discrimination in Employment Act or age discrimination claims under the California Fair
23    Employment and Housing Act that may arise after the date this waiver is executed;
24                   (c)   Named Plaintiffs have twenty-one (21) days from the date they receive
25    this Agreement to consider this Agreement; and
26                   (d)   Named Plaintiffs have seven (7) days after signing this Agreement to
27    revoke the Agreement and the Agreement will not be effective until that revocation period
28    has expired.

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 1          10.    Consideration and Revocation Periods - Notice.
 2                 (a)    Named Plaintiffs acknowledge that they already have attained the age
 3    of 40 and understand this is a full release of all existing claims whether currently known
 4    or unknown including, but not limited to, claims for age discrimination under the Age
 5    Discrimination in Employment Act.
 6                 (b)    Named Plaintiffs further acknowledge they have been advised to
 7    consult with an attorney of his own choosing before signing this Agreement in which they
 8    waive important rights including those under the Age Discrimination in Employment Act.
 9                 (c)    By executing this Agreement, Named Plaintiffs also acknowledge that
10    they have been afforded at least twenty-one (21) calendar days to consider the meaning
11    and effect of this Agreement and to discuss the contents and meaning of this Agreement,
12    as well as the alternatives to signing this Agreement, with an attorney of their choosing,
13    and has done so.
14                 (d)    Named Plaintiffs understand that the releases contained in this
15    Agreement do not extend to any rights or claims that he has under the Age Discrimination
16    in Employment Act that first arise after execution of this Agreement.
17                 (e)    If Named Plaintiffs sign this Agreement before the 21-day
18    consideration period expires, the seven-day revocation period (described in Paragraph 11(f)
19    below) immediately shall begin. If Named Plaintiffs sign this Agreement before the 21-
20    day consideration period expires, they agree that they knowingly and voluntarily have
21    accepted the shortening of the 21-day consideration period and that Defendant has not
22    promised them anything or made any representations that are not contained in this
23    Agreement. In addition, if Named Plaintiffs sign this Agreement before the 21-day
24    consideration period expires, they acknowledge and affirm that Defendant has not
25    threatened to withdraw or alter the offer contained in this Agreement prior to the expiration
26    of the 21-day consideration period.
27                 (f)    Named Plaintiffs may revoke this Agreement for a period of seven
28    calendar days following the date they execute this Agreement. Any revocation during this

       Case No.: 5:20-CV-00921-FLA(KK)             10    PLAINTIFFS’ INDIVIDUAL SETTLEMENT
                                                          AGREEMENT AND GENERAL RELEASE
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 1    period must be submitted in writing and state, “I hereby revoke my acceptance of our
 2    Agreement and General Release of All Claims.” The revocation must be mailed to Mia
 3    Farber, Esq., Jackson Lewis LLP, 725 South Figueroa Street, Suite 2500, Los Angeles,
 4    California 90017, and postmarked within seven calendar days after Plaintiffs’ execution of
 5    this Agreement. If the last day of the revocation period falls on a Sunday or legal holiday
 6    in the state of California, then the revocation period shall not expire until the next following
 7    day which is not a Sunday or legal holiday in the state of California. The foregoing
 8    notwithstanding, this Agreement shall not become effective and enforceable until the
 9    seven-day revocation period has expired.
10          11.    Governing Law and Interpretation.
11                 (a)    This General Release shall be governed and conformed in accordance
12    with the laws of the State of California provided, however, that parole evidence shall not
13    be admissible to alter, vary or supplement the term of this General Release. Should any
14    provision of this General Release be declared illegal or unenforceable by any court of
15    competent jurisdiction and cannot be modified to be enforceable, excluding the general
16    release language, such provision immediately shall become null and void, leaving the
17    remainder of this General Release in full force and effect.
18                 (b)    In the event of a breach of any provision of this General Release, any
19    Party may institute an action specifically to enforce any term or terms of this General
20    Release or seek damages for breach. In an action to enforce any term or terms of this
21    General Release or to seek damages for breach of this General Release, the prevailing party
22    in that action shall be entitled to recover reasonable attorney’s fees.
23          12.    Amendment. This General Release may not be modified, altered or changed
24    except in writing and signed by both Parties wherein specific reference is made to this
25    General Release.
26          13.    Miscellaneous.
27                 (a)    This General Release may be signed in counterparts, each of which
28
      shall be deemed an original, but all of which, taken together shall constitute the same

       Case No.: 5:20-CV-00921-FLA(KK)              11     PLAINTIFFS’ INDIVIDUAL SETTLEMENT
                                                            AGREEMENT AND GENERAL RELEASE
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 1    instrument. A signature made on a faxed or electronically mailed copy of the General
 2
      Release or a signature transmitted by facsimile or electronic mail shall have the same
 3
      effect as the original signature.
 4
 5                 (b)    The section headings used in this General Release are intended solely
 6
      for convenience of reference and shall not in any manner amplify, limit, modify or
 7
 8    otherwise be used in the interpretation of any of the provisions hereof.

 9                 (c)    This General Release was the result of negotiations between the
10
      Parties and their respective counsel. In the event of vagueness, ambiguity or uncertainty,
11
12    this General Release shall not be construed against the Party preparing it, but shall be

13    construed as if both Parties prepared it jointly.
14
                   (d)    If Plaintiffs or Defendant fail to enforce this General Release or to insist
15
      on performance of any term, that failure does not mean a waiver of that term or of the
16
      General Release. The General Release remains in full force and effect anyway.
17
            14.    Entire Agreement. This General Release and the Collective and Class
18
      Settlement Agreement and Release sets forth the entire agreement between the Named
19
      Plaintiffs and Defendants and the Released Parties hereto, and fully supersedes any prior
20
      agreements or understandings between them. Named Plaintiffs acknowledge that they have
21
      not relied on any representations, promises or agreements of any kind made to them in
22
      connection with their decision to accept this General Release, except for those set forth in
23
      this General Release.
24
                   NAMED PLAINTIFFS UNDERSTAND AND ACKNOWLEDGE
25                 THAT THEY HAVE HAD AT LEAST TWENTY-ONE (21)
                   CALENDAR DAYS TO REVIEW THIS AGREEMENT PRIOR
26                 TO EXECUTION OF THE AGREEMENT.        NAMED
                   PLAINTIFFS    FURTHER     UNDERSTAND     AND
27                 ACKNOWLEDGE THAT ANY MODIFICATIONS, MATERIAL
                   OR OTHERWISE, MADE TO THIS AGREEMENT DO NOT
28                 RESTART OR AFFECT IN ANY MANNER THE ORIGINAL
                   TWENTY-ONE (21) CALENDAR DAY CONSIDERATION

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                                                            AGREEMENT AND GENERAL RELEASE
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 1                 PERIOD.HAVING ELECTED TO EXECUTE THIS GENERAL
                   RELEASE, TO FULFILL THE PROMISES AND TO RECEIVE
 2                 THE CONSIDERATION SET FORTH IN SECTION THREE
                   ABOVE, PLAINTIFFS FREELY AND KNOWINGLY, AND
 3                 AFTER DUE CONSIDERATION, ENTER INTO THIS
                   SETTLEMENT AGREEMENT AND GENERAL RELEASE
 4                 INTENDING TO WAIVE, SETTLE AND RELEASE ALL
                   CLAIMS NAMED PLAINTIFFS HAVE OR MIGHT HAVE
 5                 AGAINST DEFENDANT AND THE RELEASED PARTIES AS
                   OF THE DATE OF EXECUTION OF THIS GENERAL
 6                 RELEASE.
 7                 IN WITNESS WHEREOF, the Parties hereto knowingly and voluntarily
 8    executed this General Release as of the date set forth below:

 9
10
      Executed on __________________            ____________________________________
11
                                                Cathy Sypherd
12
13
14
15    Executed on __________________            ____________________________________
                                                Patricia Brummett
16
17
18
19    Executed on __________________            ____________________________________
20                                              Kimberly Watt
21
22                                              LAZY DOG RESTAURANTS, LLC
23
24
25    Executed on __________________     By:    ____________________________________
                                                MARIAH MACHNIKOWSKI, SPHR
26                                              CHIEF PEOPLE OFFICER
27
28

       Case No.: 5:20-CV-00921-FLA(KK)         13   PLAINTIFFS’ INDIVIDUAL SETTLEMENT
                                                     AGREEMENT AND GENERAL RELEASE
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 1
 2
      Approved as to form and content.
 3
 4
                                                HOGUE & BELONG
 5
 6
      Executed on _____________, 2021    By:    ____________________________________
 7
                                                JEFFREY L. HOGUE, ESQ.
 8                                              TYLER J. BELONG, ESQ.
 9
                                                Attorneys for Plaintiffs
10                                              CATHY          SYPHERD;      PATRICIA
                                                BRUMMETT;
11                                              KIMBERLY WATT
12
                                                JACKSON LEWIS P.C.
13
14
      Executed on _____________, 2021    By:    ____________________________________
15                                              MIA FARBER, ESQ.
16                                              BUCK HADDIX, ESQ.
17                                              Attorneys for Defendant
18                                              LAZY DOG RESTAURANTS, LLC
19
20
21
22
23
24
25
26
27
28

       Case No.: 5:20-CV-00921-FLA(KK)         14   PLAINTIFFS’ INDIVIDUAL SETTLEMENT
                                                     AGREEMENT AND GENERAL RELEASE
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                          Exhibit “4”
Case 5:20-cv-00921-FLA-KK Document 212-1 Filed 11/19/21 Page 86 of 116 Page ID
                                   #:8951

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  8
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 13   Facsimile: (213) 689-0430

 14   Attorneys for Defendant

 15
                            UNITED STATES DISTRICT COURT
 16
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 17

 18                                                     CASE NO.: 5:20-CV-00921-FLA(KK)
      CATHY SYPHERD, individually,
 19   PATRICIA BRUMMETT,                                [Assigned to District Judge Fernando L.
      individually, and KIMBERLY WATT,                  Aenlle-Rocha and Magistrate Judge
 20                                                     Kenly Kiya Kato]
      individually, and on behalf of all others
 21   similarly situated,                               [PROPOSED] ORDER GRANTING
 22
                   Plaintiffs,                          MOTION FOR PRELIMNARY
                                                        APPROVAL OF COLLECTIVE
 23
            vs.                                         AND CLASS ACTION
 24                                                     SETTLEMENT
      LAZY DOG RESTAURANTS, LLC, a
 25
      California Corporation; and DOES 1-               Complaint Filed: May 1, 2020
 26   50,                                               FAC Filed:       June 15, 2020
 27                Defendants.
 28

                                                  -1-
       [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF PROPOSED COLLECTIVE AND CLASS
                                                                    ACTION SETTLEMENT
Case 5:20-cv-00921-FLA-KK Document 212-1 Filed 11/19/21 Page 87 of 116 Page ID
                                   #:8952

  1           On December 17, 2020, a hearing was held on the unopposed motion of
  2
      Plaintiffs Cathy Sypherd, Patricia Brummett, and Kimberly Watt (“Plaintiffs”) for
  3

  4   an order to: (1) conditionally certify the Settlement Collective1 and Settlement
  5   Class; (2) preliminarily approve the parties’ proposed collective and class action
  6
      settlement (the “Settlement”); (3) appoint Plaintiffs as the Class Representatives,
  7

  8   their counsel as Class Counsel, and CPT Group, Inc. as Settlement Administrator;
  9   (4) set the deadlines for filing Claim Forms, written exclusions, or objections to the
 10
      Settlement; (5) approve the forms of notice to the Settlement Collective and
 11

 12   Settlement Class of the Settlement and the Claim Form; and (6) schedule a hearing
 13   on the final approval of the Settlement for ____________________, 2022 (the
 14
      “Preliminary Approval Motion”). Jeffrey Hogue and Tyler Belong appeared for
 15

 16   Plaintiffs. Mia Farber appeared for Defendant Lazy Dog Restaurants, LLC (“Lazy
 17   Dog”):
 18
              Having considered the papers on the motion, the arguments of counsel, and
 19

 20   the law, the Court now enters this Preliminary Approval Order and FINDS,
 21

 22
      1
              Unless otherwise specified herein, all capitalized terms have the meaning
 23

 24   defined in the Collective And Class Action Settlement Agreement and Release
 25
      (“Settlement” or “Settlement Agreement”), which is attached to the Declaration of
 26
 27
      Jeffrey Hogue in Support of Unopposed Motion for Preliminary Approval of

 28   Settlement (“Hogue Decl.”)

                                                -2-
          [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF PROPOSED COLLECTIVE AND CLASS
                                                                       ACTION SETTLEMENT
Case 5:20-cv-00921-FLA-KK Document 212-1 Filed 11/19/21 Page 88 of 116 Page ID
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  1   CONCLUDES, and ORDERS as follows:
  2
         I.    NATURE OF ACTION
  3

  4           Plaintiffs allege that Lazy Dog engaged in age discrimination in its job
  5   application and hiring policies, practices and systems regarding applicants for non-
  6
      managerial front of the house positions, including hosts, servers, bartenders, bussers,
  7

  8   runners and take-out (“Covered Positions”) in violation of federal and California
  9   state laws. Lazy Dog disputes and denies all of Plaintiffs’ claims. Lazy Dog
 10
      contends that it has fully complied with all applicable laws at issue in this matter.
 11

 12     II.    CONDITIONAL CERTIFICATION OF RULE 23 SETTLEMENT
 13            CLASSES
 14
         A. Rule 23 Settlement Class and ADEA Collective
 15

 16           For settlement purposes only, the Parties have proposed conditional
 17   certification of the following Settlement Class and Settlement Collective, defined as:
 18
                     (1) Settlement Class: “California Class” or “California Class
 19

 20                  Members” means all applicants who, between December 4, 2015 to
 21
                     Preliminary Approval or March 17, 2022 (whichever is earlier)
 22
                     (inclusive), (a) applied for and were denied a Covered Position in
 23

 24                  California, or (b) resided in California at the time they applied to a
 25
                     Covered Position and were denied; and were aged 40 or older at the
 26
                     time of application.
 27

 28                   (2) Settlement Collective: “Settlement Collective” or “Settlement

                                                  -3-
       [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF PROPOSED COLLECTIVE AND CLASS
                                                                    ACTION SETTLEMENT
Case 5:20-cv-00921-FLA-KK Document 212-1 Filed 11/19/21 Page 89 of 116 Page ID
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  1                   Collective Members” means all the applicants (a) who applied to and
  2
                      were denied Covered Positions on or after December 4, 2016, (b) who
  3

  4                   were aged 40 or older at the time of application, and (c) who opt(ed)
  5                   into this Litigation pursuant to the federal Age Discrimination in
  6
                      Employment Act of 1967, as amended, 29 U.S.C. §§ 621, et seq.
  7

  8                   (“ADEA”) on or before October 8, 2021.2
  9         B. Conditional California And Rule 23 Certification
 10
               The Court hereby finds and concludes that for purposes of the Settlement
 11

 12   only, the California Class satisfies all of the requirements for certification under
 13   Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure.
 14
             1. The California Class is sufficiently numerous that joinder is impracticable.
 15

 16          2. The members of the California Class share common issues of fact and law
 17       regarding whether Lazy Dog’s policies and practices discriminate against Class
 18
          Members, whether they violate the California Fair Employment and Housing Act,
 19

 20       Cal. Gov. Code §§ 12900, et seq.(“FEHA”), the California Unfair Competition
 21
          Law, Cal. Bus. & Prof. Code §§ 17200, et seq. (“UCL”), whether Lazy Dog’s
 22
          application and hiring policies, practices and systems are discriminatory, and what
 23

 24

 25   2
               Consistent with the Settlement Agreement, the California Class Members and
 26
 27
      Settlement Collective Members, along with the Named Plaintiffs, are collectively

 28   referred to as the“Covered Individuals.”

                                                  -4-
          [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF PROPOSED COLLECTIVE AND CLASS
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  1   remedies are warranted.
  2
          3. The Class Representatives’ claims are typical of those of the Settlement
  3

  4   Class they propose to represent, because they arise out of the same policies and
  5   practices and course of conduct complained of by all Settlement Class Members.
  6
          4. Each Class Representative is an adequate representative of the California
  7

  8   Class she proposes to represent, because her interests are co-extensive with those of
  9   the Settlement Class Members, and she has retained experienced counsel to
 10
      represent her and the Settlement Class Members.
 11

 12       5. Questions of law or fact common to the Settlement Class predominate over
 13   individualized issues, and a class action is superior to other available methods for
 14
      the fair and efficient adjudication of this controversy.
 15

 16       6. Because certification of the Settlement Class is proposed in the context of a
 17   settlement, the Court need not inquire whether the case, if tried as a class action,
 18
      would present intractable management problems.
 19

 20           Accordingly, for settlement purposes, the Court hereby certifies the
 21
      California Class under Rule 23(a) and (b)(3).
 22
         C. Certification of Federal ADEA Collective Action under 29 U.S.C. §
 23

 24         216(b)
 25
             For the reasons stated herein, the Court hereby finds and concludes, for
 26
      purposes of settlement only, that the Settlement Collective fulfills the requirements
 27

 28   for a collective action under §216(b).

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  1           1.      Under § 216(b), an action may be maintained by an employee or
  2
      employees on behalf of others who are “similarly situated.” Such an action under
  3

  4   the ADEA may likewise be maintained by job applicants. (29 U.S.C.A. § 623;
  5   Holender v. Mutual Industries North Inc., 527 F.3d 352, 103 (3d Cir. 2008) (holding
  6
      that a 59 year old job applicant had properly filed an EEOC charge of age
  7

  8   discrimination within the meaning of the ADEA).
  9           2.      Here, the Settlement Collective Members are similarly situated for
 10
      purposes of a collective action under § 216(b) in that they are unsuccessful
 11

 12   applicants to Covered Positions at Lazy Dog, and they have alleged they were
 13   affected by policies, practices, and systems that have the purpose and/or effect of
 14
      denying them employment opportunities because of their age.
 15

 16           3.      Accordingly, for settlement purposes, certification under § 216(b) is
 17   appropriate for those Settlement Collective Members (a) who applied to and were
 18
      denied Covered Positions on or after December 4, 2016, (b) who were aged 40 or
 19

 20   older at the time of application, and (c) who opted in to this Litigation pursuant to
 21
      the federal Age Discrimination in Employment Act of 1967, as amended, 29 U.S.C.
 22
      §§ 621, et seq. (“ADEA”) on or before _______________.
 23

 24    III.        APPOINTMENT OF CLASS REPRESENTATIVES AND CLASS
 25
                   COUNSEL
 26
         A. Class Representatives
 27

 28

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       [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF PROPOSED COLLECTIVE AND CLASS
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  1                The Court finds and concludes that, for purposes of settlement only,
  2
             Class Representatives have claims typical of the members of the California
  3

  4          Class and Settlement Collective they propose to represent, and they are
  5          adequate representatives of the California Class and Settlement Collective
  6
             they seek to represent. The Court hereby appoints Plaintiffs Cathy Sypherd,
  7

  8          Patricia Brummett, and Kimberly Watt to serve as Class Representatives.
  9      B. Class Counsel
 10
             The Court finds and concludes, for purposes of settlement only, that Hogue &
 11

 12   Belong, APC, and its attorneys of record in this case, Jeffrey Hogue and Tyler
 13   Belong, have extensive experience and expertise in prosecuting
 14
      discrimination, class, and collective actions. The Court appoints Hogue & Belong,
 15

 16   APC, as Class Counsel.
 17    IV.    PRELIMINARY APPROVAL OF SETTLEMENT
 18
             The Court has reviewed the terms of the Settlement, including the plan of
 19

 20   allocation and the release of claims. The Court has also read and considered the
 21
      declaration of Jeffrey L. Hogue in support of preliminary approval. Based on
 22
      review of those papers and the Court’s familiarity with this case, the Court finds and
 23

 24   concludes that the Settlement is the result of arms-length negotiations between the
 25
      Parties conducted after Class Counsel had adequately investigated Plaintiffs’ claims
 26
      and became familiar with their strengths and weaknesses. The assistance of
 27

 28

                                               -7-
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  1   two experienced mediators in the settlement process over the course of two separate
  2
      mediations supports the finding that the Settlement is noncollusive.
  3

  4          Based on all of these factors, the Court concludes that the proposed
  5   Settlement meets the criteria for preliminary settlement approval. The Settlement
  6
      has no obvious defects and falls within the range of possible approval as fair,
  7

  8   adequate, and reasonable, such that notice to the Covered Individuals is appropriate.
  9   Accordingly, the Settlement is hereby preliminarily approved.
 10
        V.    APPROVAL OF THE NOTICE PLAN
 11

 12          The Parties have also submitted for this Court’s approval a proposed class
 13   notice and claim form (Exhibits 1 (“Notice”) and 2 (“Claim Form”) to the
 14
      Settlement Agreement). After carefully reviewing these documents, the Court finds
 15

 16   and concludes as follows:
 17      A. Best Notice Practicable
 18
             The Notice is the best notice practicable under the circumstances and allows
 19

 20   the Covered Individuals a full and fair opportunity to consider the Settlement. The
 21
      Notice is based on the model forms supplied by the Federal Judicial Center and the
 22
      Northern District of California’s Procedural Guidance for Class Action Settlements,
 23

 24   and it fairly, plainly, accurately, and reasonably informs the Covered Individuals of
 25
      appropriate information about: (1) the nature of this action, the definition of the
 26
      Settlement Class and the Settlement Collective, the identity of Class Counsel, and
 27

 28   the essential terms of the Settlement, including the plan of allocation, and notice of

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  1   how to obtain other important documents in the case; (2) Plaintiffs’ forthcoming
  2
      application for the Class Representatives’ Service Awards and the Class Counsel
  3

  4   attorneys’ fees and costs award; (3) how Covered Individuals’ settlement shares will
  5   be calculated; (4) this Court’s procedures for final approval of the Settlement, and
  6
      about the Covered Individuals’ right to appear through counsel if they desire; (5)
  7

  8   how to submit a Claim Form, comment on or opt out of the Settlement, if a Covered
  9   Individual wishes to do so, (6) how to obtain additional information regarding this
 10
      action and the Settlement, reference to the case docket via PACER or in person at
 11

 12   any of the Court’s locations; and (7) the date of the Final Approval Hearing and that
 13   the date may change without further notice to the Settlement Class or Settlement
 14
      Collective, and that Covered Individuals may check the Court’s PACER site to
 15

 16   confirm that the date has not been changed.
 17             The proposed plan for distributing the Notice likewise is a reasonable
 18
      method calculated to reach all individuals who would be bound by the Settlement.
 19

 20   Under this plan, the Settlement Administrator will distribute the Notice to all
 21
      Covered Individuals by first-class mail to their last known mailing addresses, and
 22
      will send them via email to their last known email addresses. In addition, the
 23

 24   Settlement Administrator will send reminder notices by mail or email to those who
 25
      have failed to opt out or submit all required forms by the time the response deadline
 26
      approaches. And, the Settlement Administrator will run up to two separate address
 27

 28

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  1   checks (i.e., skip-traces) to attempt to locate correct addresses for any notices that
  2
      have been returned as undelivered.
  3

  4      B. CAFA Notice of Proposed Settlement
  5          Within ten (10) calendar days after the Court’s Preliminary Approval Order of
  6
      the Settlement, the Settlement Administrator shall provide notice of the proposed
  7

  8   Settlement to state and federal officials as required by the Class Action Fairness Act,
  9   28 U.S.C. § 1715(b). The Settlement Administrator shall draft and prepare the
 10
      CAFA notice in conformity with 28 U.S.C. § 1715, and subject to Lazy Dog’s
 11

 12   approval. The Settlement Administrator shall provide a draft of the CAFA Notice to
 13   Lazy Dog no later than three (3) calendar days after the Court’s Preliminary
 14
      Approval Order of the Settlement. On this basis, the notice of the Settlement is
 15

 16   approved, and the Court finds that the above-referenced actions will discharge Lazy
 17   Dog’s obligations under CAFA to provide notice to the appropriate federal and state
 18
      officials.
 19

 20      C. Approval
 21
             Accordingly, the Court finds and concludes that the proposed plan for
 22
      distributing the Notice will provide the best notice practicable, satisfies the notice
 23

 24   requirements of Rule 23(e) and 29 U.S.C. section 216(b), and satisfies all other
 25
      legal and due process requirements. Accordingly, the Court hereby orders as
 26
      follows:
 27

 28                1. The Notice and Claim Form are approved.

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  1                 2. The manner of distributing the Class Notice to the Covered Individuals
  2
      is approved.
  3

  4                 3. Promptly following the entry of this order, the Settlement
  5   Administrator will prepare final versions of the Notice, incorporating into them the
  6
      relevant dates and deadlines set forth in this order.
  7

  8                 4. Within fifteen (15) business days following entry of this order, Lazy
  9   Dog will provide the Settlement Administrator the same fields of applicant data
 10
      previously produced to Class Counsel in the Litigation, updated to include all
 11

 12   Covered Individuals, in the format previously produced to Class Counsel, and with
 13   incorporation of (i) applicant data from paper applications from December 4, 2016
 14
      through January 1, 2017, in the case of the Settlement Collective, and from
 15

 16   December 4, 2015 through December 31, 2016, in the case of the California class;
 17   and (ii) the class lists relied upon in the Litigation by the Parties’ respective experts
 18
      (Ted Tatos for Plaintiffs, and Ali Saad, Ph.D. for Defendant).
 19

 20                 5. Within twenty-one (21) business days after receipt of the applicant
 21
      data, the Settlement Administrator will send the Notice and Claim Form to all
 22
      Covered Individuals, by first-class mail to their last known address, and by email to
 23

 24   their last known email address(es) (to those for whome an email address is
 25
      available).
 26
                    6. The Settlement Administrator will perform up to two skip-traces on
 27

 28   returned mail and re-mail the Notice and Claim Form to an updated address (if any)

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  1   as soon as possible upon return of the undeliverable Notice and no later than 3
  2
      business days upon receiving the newly ascertained address.
  3

  4              7. Plaintiffs will file with their motion for final approval a declaration
  5   from the Settlement Administrator of due diligence and proof of mailing with regard
  6
      to the mailing of the Notice, and will file prior to the hearing on the motion a
  7

  8   supplemental declaration from the Settlement Administrator as applicable.
  9               8. The Settlement Administrator will take all other actions in
 10
      furtherance of settlement administration as are specified in the Settlement.
 11

 12    VI.    PROCEDURES FOR FINAL APPROVAL OF THE SETTLEMENT
 13      A. Final Approval Hearing
 14
             The Court hereby schedules a hearing to determine whether to grant final
 15

 16   approval of the Settlement (the “Final Approval Hearing”) for
 17   _____________________, 2022, at 1:30 p.m. The date of the hearing may be
 18
      changed without further notice to Covered Individuals.
 19

 20      B. Deadline to Submit Claim Forms
 21
             All Covered Individuals who wish to submit Claim Forms must do so within
 22
      forty-five (45) calendar days from the date of the initial mailing. For mailed
 23

 24   submissions, any item mailed by the deadline, as evidenced by a postmark, shall be
 25
      deemed to be timely. Submissions may be filed by mail or email.
 26
         C. Deadline to Opt Out of the Settlement
 27

 28          1. Form of Opt-Out Request

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  1           Any Covered Individual may opt out of participating in the Settlement by
  2
      submitting a signed letter to the Settlement Administrator stating that he or she
  3

  4   wishes to be excluded from the Settlement (“Opt-Out Statement”). The letter must
  5   include the Covered Individual’s name, address, telephone number, and signature. It
  6
      must also contain the following words in order to be valid: “I decline to provide a
  7

  8   release of claims and instead elect to exclude myself from the monetary relief
  9   provisions in the Settlement in Sypherd v. Lazy Dog Restaurants, LLC. That means
 10
      I will not be entitled to any of the monetary proceeds of the Settlement.”
 11

 12          2. Deadline for Submitting Opt-Out Request
 13         An Opt-Out Statement will be deemed timely submitted to the Settlement
 14
      administrator if it is mailed or emailed to the Settlement Administrator by first-class
 15

 16   mail or email and postmarked or emailed by not later than forty-five (45) days after
 17   the Settlement Administrator first mails the Class Notice to the Covered Individuals.
 18
      Only those Covered Individuals who submit their Opt-Out Statement within the time
 19

 20   and by the manner set forth in this Order will be excluded from the Settlement.
 21
      Pursuant to Federal Rule of Civil Procedure 23(b)(3) and (c)(2), the Settlement will
 22
      have no binding effect on any Covered Individual who properly opts out of the
 23

 24   Settlement in the manner required by this Order.
 25
             3. Lazy Dog’s Right to Rescind Agreement
 26
            If ten percent (10%) or more of the Settlement Collective or ten percent
 27

 28   (10%) or more of the Settlement Class validly opt out pursuant to the process set

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  1   forth herein, Lazy Dog will have the sole right either (i) to withdraw in writing from
  2
      and rescind this Settlement Agreement in which case all actions taken in its
  3

  4   furtherance shall be null and void for all purposes and may not be used or
  5   introduced in further litigation except to determine whether Lazy Dog is entitled to
  6
      withdraw from the Settlement Agreement and has validly done so, or (ii) to modify
  7

  8   the Settlement Agreement through further negotiations with Class Counsel. Lazy
  9   Dog must exercise this right within ten (10) business days after the Settlement
 10
      Administrator sends the final list of all Opt-Out Statements to Class Counsel and
 11

 12   Defendant’s Counsel by email. If Lazy Dog exercises this option, the parties will
 13   split the Settlement Administrator’s costs incurred up to that date.
 14
         D. Deadline for Filing Comments on or Objections to Settlement
 15

 16         Any Covered Individual who wishes to comment on or object to the fairness,
 17   reasonableness, or adequacy of the Settlement must do so in writing as provided in
 18
      the Notice. Covered Individuals who have timely commented on or objected to the
 19

 20   Settlement in writing may also appear at the Final Approval Hearing, in person or
 21
      through counsel, but only if they (a) have given written notice of their intent to
 22
      appear at the hearing as provided in the Notice, or (b) can show good cause why
 23

 24   they could not provide such notice. To be considered, any comment on or objection
 25
      to the final approval of the Settlement must: (a) be submitted to the Settlement
 26
      Administrator either by mail or email; (b) be postmarked or emailed within forty-
 27

 28   five (45) days after the date of the Notice mailing; (c) clearly identify the case name

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  1    and number (Sypherd et al. v. Lazy Dog Restaurants, LLC, Case No.: 5:20-CV-
  2
       00921-FLA(KK)); and (d) clearly indicate that the objector is in fact objecting to the
  3

  4    Settlement and that, by doing so, he or she understands that he/she is subjecting
  5    him/heself to certain court proceedings, including appearing for a noticed
  6
       deposition. Any Covered Individual who does not timely submit such a written
  7

  8    objection will not be permitted to raise such objection or appear at the Final
  9    Approval Hearing, except for good cause shown, and any Covered Individual who
  10
       fails to object in the manner prescribed by this order will be deemed to have waived,
  11

  12   and will be foreclosed from raising, any such comment or objection, except for good
  13   cause shown.
  14
          E. Deadline for Mailing and Cashing Settlement Share Checks
  15

  16         Each Covered Individual who submits a Claim Form will be eligible to
  17   receive his or her share of the Settlement. No later than ten (10) business days after
  18
       Finality, Lazy Dog will wire to the Settlement Administrator the Gross Fund
  19

  20   Payment. The Settlement Administrator will distribute the funds from the Gross
  21
       Fund pursuant to the terms of the Settlement Agreement, including mailing
  22
       settlement checks to Claimants, making attorneys’ fees and cost payments to Class
  23

  24   Counsel, and making Service Awards payments to Plaintiff. Claimants will have one
  25
       hundred eighty (180) calendar days from the date of issuance written on the check to
  26
       cash their Settlement checks, after which time the checks will expire. Should there
  27

  28   remain any residual from the Gross Fund after all payments are made under this

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  1    Settlement, the Settlement Administrator shall pay the residual funds to Claimants
  2
       on a pro rata basis (if the residual funds exceed $30,000), or to the cy pres designee,
  3

  4    California State Bar’s Justice Gap Fund (if the residual funds are equal to or less
  5    than $30,000).
  6
          F. Submitting Motion Seeking Final Approval
  7

  8           As soon as practicable after the Claims Period has concluded, Plaintiffs shall
  9    file a motion for final approval of the Settlement.
  10
          G. Motion for Approval of Class Representatives Payment and Class
  11         Counsel’s Fees and Costs Award
  12
              Not later than ten (10) business days before the expiration of the 45-day
  13

  14   Claims Period, Class Counsel may file a motion for approval of Service Awards for
  15   the Class Representatives and a motion for approval of their Class Counsel
  16
       attorneys’ fees and costs payment. At Class Counsel’s option, these motions may be
  17

  18   filed separately, or jointly as a single motion.
  19
       VII.    PLAINTIFFS’ AND CLASS MEMBERS’ RELEASE
  20
              If, at the Final Approval Hearing, this Court grants final approval to the
  21

  22   Settlement, Plaintiffs, and every Covered Individual who does not opt out will,
  23
       pursuant to the Settlement, be adjudicated to have granted the release of “Released
  24
       Claims” as set forth in the Settlement Agreement. In addition, each Covered
  25

  26   Individual, by submitting a Claim Form and/or cashing his or her settlement check,
  27
       releases all Released Claims as set forth in the Settlement Agreement. Finally, the
  28
       Named Plaintiffs who elect to receive a Service Award will be required to sign the
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  1    General Release as set forth in Exhibit 4 of the Settlement Agreement in order to
  2
       receive a Service Award.
  3

  4    VIII.    APPOINTMENT OF SETTLEMENT ADMINISTRATOR
  5         CPT Group, Inc. is hereby appointed Settlement Administrator to carry out the
  6
       duties set forth in this Preliminary Approval Order and the Settlement.
  7

  8     IX.     SCHEDULING ORDER
  9    The following schedule sets the sequence for the relevant dates and deadlines based
  10
               on the preliminary approval of the Settlement on _________________, 2022.
  11

  12                          Event                                     date
  13
        Lazy Dog to provide class list data to
  14
        Administrator
  15

  16    Notice disseminated by Settlement
  17
        Administrator
  18
        Reminder notices
  19

  20    Fee and Service Award motions due
  21
        Deadline for Class Members to submit requests
  22    for
  23
        exclusion and/or objections

  24    Deadline for Class Members to submit Claim
  25    Forms

  26    Settlement Administrator submits final report to
  27    Parties

  28

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  1    Final Approval Motion due
  2
       Lazy Dog decides whether to rescind the
  3

  4    Settlement
  5    Final approval, Service Award fee reply briefs
  6
       Final Approval Hearing
  7

  8    Effective Date (assuming no appeals)
  9
       Funding of Settlement
  10
       Checks mailed to Class Members
  11

  12   Approximate deadlines for Class Counsel to
  13
       report to the Court regarding implementation of
       the Settlement (to be formally set at the Final
  14   Approval Hearing)
  15

  16

  17   IT IS SO ORDERED.

  18   DATED: December 17, 2021
  19                                        By:      _s/ ______________________
                                                     Hon. Fernando L. Aenlle-Rocha
  20
  21

  22

  23

  24

  25

  26
  27

  28

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                          Exhibit “B”
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Host/Hostess | Lazy Dog Opportunities                 https://recruiting2.ultipro.com/LAZ1001/JobBoard/572d9c29-5e1e-3b84...
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     Work Experience

     * Job Title




     * Company / Organization




     Location




     * From

           Choose...




     To

           Choose...




     Leave this blank if you currently work here.

     Description




                                                                                                                        2000 characters left


           Save        Cancel




     Education         



     Skills       



     Behaviors         



     Motivations           



     Licenses and Certiﬁcations                 


https://recruiting2.ultipro.com/LAZ1001/JobBoard/572d9c29-5e1e-3b84-42d0-04a3bbea60c1/OpportunityApply?opportunityId=225340b9-a450-4fcd-8…     2/6
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     Work Experience 


     Education

     * School Name

       Choose...

     * Level of Education / Degree

       Choose...

     Major

           Choose...

     Minor

           Choose...

     From

           Choose...




     To

           Choose...




     Or expected graduation date. For high school, only provide a date if you have not yet graduated.

     Description




                                                                                                                        1500 characters left


           Save        Cancel




     Skills       



     Behaviors         



     Motivations           


https://recruiting2.ultipro.com/LAZ1001/JobBoard/572d9c29-5e1e-3b84-42d0-04a3bbea60c1/OpportunityApply?opportunityId=225340b9-a450-4fcd-8…     2/6
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     Work Experience 


     Education        



     Skills       



     Behaviors        



     Motivations          



     Licenses and Certiﬁcations

     * License / Certiﬁcation Name

       Choose...

     License Number




     Date Achieved




     Renewal Date




           Save        Cancel




     Links        



     Documents
                                                                                                                                       


     Include documents with your application: choose from your previously uploaded documents or upload new ones.

     Max 10 attached documents per application.



           No documents uploaded.




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